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335 Madison Avenue, 9th Floor
New York, NY 10017
646.453.7851
Jeffrey N. Rich
Howard P. Magaliff

Proposed Attorneys for the Debtor

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re:                                                         :
                                                               :     Chapter 11
MEMORY LANE MUSIC GROUP, LLC                                   :     Case No. 22-_____ (___)
                                                               :
                                    Debtor.                    :
---------------------------------------------------------------x


                               DECLARATION OF MARK SPIER
                         PURSUANT TO LOCAL BANKRUPTCY RULE 1007-4

                    I, Mark Spier, hereby affirm under penalties of perjury pursuant to 28 U.S.C.

§ 1746 as follows:

                    1.     I am the Managing Member of Memory Lane Music Group, LLC

(“Memory Lane” or the “Debtor”). I have extensive knowledge of the Debtor and its history,

operations, financial condition, and books and records, as well as the circumstances leading to

the Debtor’s decision to seek relief under Subchapter V of chapter 11 of the Bankruptcy Code.

Except as otherwise noted, all of the information in this declaration is provided on the basis of

my personal knowledge, my review of relevant documents, and information provided to me by

employees working under my supervision. If called to testify, I would and could testify to the

facts set forth below.

                    2.     This declaration is being submitted in accordance with Local Bankruptcy

Rule 1007-4.




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                BACKGROUND AND CIRCUMSTANCES LEADING TO FILING

                 3.    The Debtor is limited liability company formed under the laws of the State

of New York on February 17, 2006. Pursuant to the Operating Agreement of the Debtor dated

January 1, 2014, I am the sole Managing Member of the Debtor and together with Spier Music

Holdings LLC, a New York limited liability company, the sole equity owners of the Debtor.

                 4.    The Debtor’s principal place of business is located in Port Washington,

New York.

                 5.    The Debtor provides services to the music publishing industry including

song registration, royalty collection, distribution, and negotiations and licensing. A music pub-

lisher is a person or an organization that is authorized to license the copyrighted use of a particu-

lar musical work. Publishers sign contracts with songwriters to manage their composition rights

and maximize the cash flows. The music publisher can either own the copyright for the life of

the copyright or administer the copyright for the copyright owner for a shorter period of time.

Publishers receive a percentage of the earnings between 10–50% as commission for their ser-

vices.

                 6.    Memory Lane is a third-generation music publishing company founded in

1923 by Larry Spier, Sr. Between 2000 and 2010, the music publishing industry changed dra-

matically. Major music publishers started acquiring music copyrights and music publishing

companies. As a result of these changes, Memory Lane started losing clients and/or reducing the

commissions it received in order to retain their clients. The changes started to effect Memory

Lane’s bottom line around 2008. In 2012, Memory Lane lost its biggest client that represented

40% of its profit. In the years that followed, several other large clients left Memory Lane for

better deals. By 2016, Memory Lane’s revenue and profit had reduced by over 50%. Memory




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Lane was slow to respond to the loss of clients and maintained a larger than needed payroll with

the hope in acquiring new clients. The new clients never materialized enough to offset the large

payroll. The losses started to mount, and Memory Lane started to not pay some of its songwrit-

ers due to the lack of available cash.

                7.     In 2018, the Debtor reduced its operating expenses by moving its opera-

tions to another publishing company to administer on a commission basis. In addition, Memory

Lane negotiated payment plans with most of its clients except for five that are all represented by

the Songwriter’s Guild of America (SGA).

                8.     The SGA filed litigation against Memory Lane Music on behalf of the five

clients. In addition to Memory Lane, the defendants include myself, three wholly owned subsid-

iaries of Memory Lane, and three affiliated entities. The claims against the non-debtor defend-

ants are alter ego claims, and I am advised by counsel that these claims cannot proceed in state

court independent of the claim against the Debtor. The SGA is refusing to settle the case on rea-

sonable terms. After over $150,000 in legal fees, Memory Lane is seeking bankruptcy protec-

tion.

                9.     The Debtor intends to file a motion in the Bankruptcy Court to stay the lit-

igation with the SGA. The Debtor is hopeful that the respite provided under the Bankruptcy

Code will enable it to arrive at a fair and reasonable resolution of creditors’ claims and apply

funds that otherwise would be spent on litigation.

           INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1007-4

Local Rule 1007-4(a)(i)

                10.    The Debtor is a small business debtor within the meaning of Bankruptcy

Code § 101(51D).




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Local Rule 1007-4(a)(ii)

                11.    The Debtor is a not a single asset real estate debtor within the meaning of

Bankruptcy Code § 101(51B).

Local Rule 1007-4(a)(iii)

                12.    The nature of the Debtor’s business and a concise statement of the circum-

stances leading to the Debtor’s filing under chapter 11 are set forth above.

Local Rule 1007-4(a)(iv)

                13.    Not applicable.

Local Rule 1007-4(a)(v)

                14.    No committee was formed prior to the filing of the Debtor’s petition.

Local Rule 1007-4(a)(vi)

                15.    A list of the 20 largest unsecured creditors is attached as Exhibit 1.

Local Rule 1007-4(a)(vii)

                16.    The Debtor has one secured creditor with a disputed lien:

                        Capital One Bank
                        299 Park Avenue
                        New York, NY 10171
                        Claim: $252,700.85
                        Collateral Value: $300,000

Local Rule 1007-4(a)(viii)

                17.    The Debtor’s most recent balance sheet is attached as Exhibit 2.

Local Rule 1007-4(a)(ix)

                18.    There are no publicly held securities of the Debtor.

Local Rule 1007-4(a)(x)

                19.    None of the Debtor’s property is in the possession of any third party.




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Local Rule 1007-4(a)(xi)

                20.      The Debtor does not own or lease any real property.

Local Rule 1007-4(a)(xii)

                21.      The Debtor’s significant assets, and books and records, are located at 66

Summit Road, Port Washington, NY 11050.

Local Rule 1007-4(a)(xiii)

                22.      The following action is pending against the Debtor:

                         •   William Bunch, et al. v. Memory Lane Music Group, LLC, et al., Su-
                             preme Court of the State of New York, County of New York, Index
                             No. 654117/2019

Local Rule 1007-4(a)(xiv)

                23.      I am the Debtor’s sole manager and responsible for all day to day activi-

ties and operations of the Debtor.

Local Rule 1007-4(a)(xv) and (xvi)

                24.      The Debtor has no employees and no payroll. No payment to officers or

directors will be made during the 30 days following the filing of the petition. Subject to the en-

try of an order authorizing retention, the Debtor will pay $2,500 to its financial advisor OEM

Capital Corp. during the 30 days following the filing of the petition.

Local Rule 1007-4(a)(xvii)

                25.      The Debtor will have no income for the 30-day period following the filing

of the chapter 11 petition. Anticipated expenses are $147.74 for member life insurance and bank

fees of $800 – $1,000.

Local Rule 1007-4(a)(xviii)

                26.      The Debtor’s only insurance is a medical insurance policy for me.




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Local Rule 1007-4(a)(xix)

                27.    A schedule of bank accounts is attached as Exhibit 3.

Additional Documents Required in Subchapter V

                28.    The most recent profit and loss statement is attached as Exhibit 4.

                29.    The most recent statement of cash flows is attached as Exhibit 5.

                30.    The most recent federal tax returns is attached as Exhibit 6.


                I declare under penalty of perjury that the foregoing is true and correct.


Dated: Port Washington, New York
       April 25, 2022

                                                       Mark Spier




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                                  EXHIBIT 1

                         20 Largest Unsecured Creditors




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 Fill in this information to identify the case:
 Debtor name Memory Lane Music Group LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DeRose Music                                                    Royalties Due                                                                                          $303,461.53
 c/o Songwriters
 Guild of America
 PO Box 2083
 Brentwood, TN
 37024
 Kudu Music Co.                                                  Royalties Due                                                                                            $68,438.08
 c/o Songwriters
 Guild of America
 PO Box 2083
 Brentwood, TN
 37024
 Harry Ruby (Busch                                               Royalties Due                                                                                            $58,454.45
 Charles
 c/o Songwriters
 Guild of America
 PO Box 2083
 Brentwood, TN
 37024
 Harold Adamson                                                  Royalties Due                                                                                            $35,381.65
 Music
 c/o Songwriters
 Guild of America
 PO Box 2083
 Brentwood, TN
 37024
 Benny Davis Music                                               Royalties Due                                                                                            $33,516.96
 Co.
 c/o Susan Rutrough
 4900 SW 60 Pl.
 Miami, FL 33155
 Classified Music                                                Royalties Due                                                                                            $22,154.56
 c/o David Jordan
 6827 Cover Avenue
 Hamtramck, MI
 48212



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                            Case 8-22-70838-ast                      Doc 2        Filed 04/25/22               Entered 04/25/22 10:51:41




 Debtor    Memory Lane Music Group LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 David Mann Music                                                Royalties Due                                                                                              $6,495.29
 Co
 3 Daniel Lane
 Butler, NJ 07405
 All Shall Perish In.                                            Royalties Due                                                                                              $5,622.11
 120 Village Square
 Suite 83
 Orinda, CA 94563
 Toni R Music                                                    Royalties Due                                                                                              $5,602.14
 Ms. Barbara
 Schwartz
 419 Santa Maria
 Drive
 Irvine, CA 92606
 Hygroton Music                                                  Royalties Due                                                                                              $5,277.72
 Geraldine Hunt
 Milligan
 159 Church Hill, Apt.
 207
 Montreal, PQ J4V
 2M2, Can
 Abiersack - AF                                                  Royalties Due                                                                                              $4,626.19
 c/o David Weise &
 Assoc.
 16000 Ventura Blvd.
 Suite 600
 Encino, CA 91436
 Ted Varnick Music                                               Royalties Due                                                                                              $4,323.11
 Co.
 c/o Songwriters
 Guild of America
 PO Box 2083
 Brentwood, TN
 37024
 Unidisc Music Inc.                                              Royalties Due                                                                                              $4,072.69
 c/o Matra Music Ltd
 87B Hymus Blvd
 Pointe Claire, PQ
 H9R 4T2
 Canada
 Sanavan Music                                                   Royalties Due                                                                                              $4,013.71
 Address Unknown
 Ched Music                                                      Royalties Due                                                                                              $3,952.20
 Warner Chappell
 Music Inc
 10585 Santa Monica
 Blvd
 Los Angeles, CA
 90025




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                            Case 8-22-70838-ast                      Doc 2        Filed 04/25/22               Entered 04/25/22 10:51:41




 Debtor    Memory Lane Music Group LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Diversified Music                                               Royalties Due                                                                                              $3,658.46
 c/o David Jordan
 6827 Cover Avenue
 Hamtramck, MI
 48212
 Reganesque Music                                                Royalties Due                                                                                              $2,530.84
 Co
 Spirit Two Music
 235 W 23rd Street
 4th Floor
 New York, NY 10011
 Jay Zynczak                                                     Royalties Due                                                                                              $2,485.28
 ADDRESS
 UNKNOWN
 Alicia Razaf                                                    Royalties Due                                                                                              $2,216.89
 Georgiade
 Wixen Music
 Publishing
 24025 Park Sorrento
 Suite 130
 Calabasas, CA
 91302
 Truelove Music                                                  Royalties Due                                                                                              $1,737.58
 Studio 19F
 Tower Workshops
 Riley Road
 London, SE1 3DG,
 ENGLAND




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                  EXHIBIT 2

                                 Balance Sheet




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11:49 AM                                   Memory Lane Music Group LLC
04/22/22                                             Balance Sheet
Accrual Basis                                          As of April 22, 2022

                                                                                    Apr 22, 22
                  ASSETS
                    Current Assets
                      Checking/Savings
                         0001 · Exchange                                                             483.26
                         1000 · City National Checking                                               214.10
                         1010 · FNBLI                                                                376.23
                         1050 · Capital One Checking                                               1,536.99
                         1100 · OLD_CNB Checking                                                     437.08

                       Total Checking/Savings                                                      3,047.66

                       Other Current Assets
                         1204 · Financial Advisor Retainer                                         7,500.00
                         1205 · Legal Services Retainer                                           75,000.00
                         1230 · Legal Judgement
                            1231 · Write off - Uncollectable Judge                        -65,963.26
                            1230 · Legal Judgement - Other                                 65,963.26

                          Total 1230 · Legal Judgement

                       Total Other Current Assets                                                 82,500.00

                    Total Current Assets                                                          85,547.66

                    Fixed Assets
                       1540 · Computer Equipment/Software
                         1541 · Computer Equipment/Software                                28,291.85
                         1542 · A/D Computer Equip & Software                             -27,650.00

                       Total 1540 · Computer Equipment/Software                                        641.85

                       1544 · Computer Software
                         1545 · Software                                                   97,802.30
                         1546 · A/D Depreciation Software                                 -86,611.00

                       Total 1544 · Computer Software                                             11,191.30

                    Total Fixed Assets                                                            11,833.15

                    Other Assets
                      1300 · Invest - Memory Lane Music Ltd                                      203,153.09
                      1350 · 240 W 37th - Security Deposit
                         1351 · Held by Chase L/C                                          50,534.65
                         1352 · Security Deposit Held - tenant                            -17,500.00

                       Total 1350 · 240 W 37th - Security Deposit                                 33,034.65

                       1600 · Copyrights Owned
                         1622 · Copyrights - LSI                                         841,775.41
                         1629 · Copyrights - Frank Foster                                  5,000.00
                         1632 · Copyrights - Stillman                                     52,500.00
                         1640 · Accum Amort - Copyrights                                -814,350.00

                       Total 1600 · Copyrights Owned                                              84,925.41

                    Total Other Assets                                                           321,113.15

                  TOTAL ASSETS                                                                   418,493.96

                  LIABILITIES & EQUITY
                     Liabilities
                        Current Liabilities
                           Accounts Payable
                               2000 · Payables
                                 2050 · Royalties Payable                                143,032.05
                                 2065 · Royalties Payable Intercompany                     4,109.33
                                 2066 · Royaties Payable - SGA                           470,058.82

                             Total 2000 · Payables                                               617,200.20


                                                                                                                Page 1
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04/22/22                                                Balance Sheet
Accrual Basis                                            As of April 22, 2022

                                                                                      Apr 22, 22
                             2067 · Payment Plans                                                     14,220.68

                          Total Accounts Payable                                                     631,420.88

                          Other Current Liabilities
                            2847 · Defered Income                                                     20,839.82

                          Total Other Current Liabilities                                             20,839.82

                       Total Current Liabilities                                                     652,260.70

                       Long Term Liabilities
                         2051 · Royalty Payable - L/T                                                408,318.67

                          2300 · Intercompany Loans
                            2301 · Larry Spier Music
                                2311 · LSM - Pre 2018                               624,918.71
                                2312 · LSM - 2018                                    25,445.24
                                2313 · LSM - 2019                                   162,655.87
                                2336 · LSM - 2020                                    32,320.15
                                2346 · LSM - 2021                                    55,671.22
                                2351 · LSM - 2022                                   -30,200.00

                             Total 2301 · Larry Spier Music                                870,811.19

                             2302 · Scion Three Music
                               2321 · Scion 3 - Pre 2018                            173,742.37
                               2322 · Scion 3 - 2018                                116,386.78
                               2323 · Scion 3 - 2019                                106,869.19
                               2337 · Scion 3 - 2020                                -35,546.95
                               2347 · Scion 3 - 2021                                 69,208.86
                               2352 · Scion 3 - 2022                                 -2,960.16

                             Total 2302 · Scion Three Music                                427,700.09

                             2303 · Scion Four Music
                               2331 · Scion 4 - pre 2018                            478,274.04
                               2332 · Scion 4 - 2018                                347,458.67
                               2333 · Scion 4 - 2019                                204,540.79
                               2338 · Scion 4 - 2020                                -51,371.94
                               2348 · Scion 4 - 2021                                -82,774.47
                               2353 · Scion 4 - 2022                                    999.99

                             Total 2303 · Scion Four Music                                 897,127.08

                             2349 · Memory Lane Music Limited                              163,209.29

                          Total 2300 · Intercompany Loans                                          2,358,847.65

                          2905 · Capital One Line of Credit                                          252,700.85

                       Total Long Term Liabilities                                                 3,019,867.17

                    Total Liabilities                                                              3,672,127.87

                    Equity
                      1135 · Partner One Equity
                         1145 · Partner One Draws                                            -1,183.76
                         1155 · Partner One Investments                                    -636,209.21
                         1160 · Partner One Earnings                                     -1,030,116.65

                       Total 1135 · Partner One Equity                                             -1,667,509.62

                       1170 · Partner Two Equity
                         1190 · Partner Two Investments                                    -688,254.31
                         1195 · Partner Two Earnings                                     -1,030,117.47

                       Total 1170 · Partner Two Equity                                             -1,718,371.78

                       3900 · Retained Earnings                                                      205,846.05
                       Net Income                                                                    -73,598.56

                                                                                                                   Page 2
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04/22/22                                       Balance Sheet
Accrual Basis                                  As of April 22, 2022

                                                                            Apr 22, 22
                    Total Equity                                                         -3,253,633.91

                  TOTAL LIABILITIES & EQUITY                                               418,493.96




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                                        EXHIBIT 3

                                       Bank Accounts


                   Bank Name                                Type of Account

City National Bank (x1921)                    Business checking

City National Bank (x9565)                    Business checking

First National Bank of Long Island (x1355)    Business checking

Capital One (x6857)                           Business checking

Capital One (x9260)                           Business checking




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                                 EXHIBIT 4

                          Profit and Loss Statement




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5:10 PM                                    Memory Lane Music Group LLC
04/21/22                                              Profit & Loss
Accrual Basis                                January 1 through April 21, 2022

                                                                                Jan 1 - Apr 21, 22
                    Ordinary Income/Expense
                         Income
                            4010 · Mechanical Royalties Income                                        1,400.81
                            4030 · Foreign Royalties Income                                          12,606.20
                            4035 · NMPA Late Fees Settlement                                          1,415.70
                            4091 · Atlas Music Royalties Income                                       9,566.05

                         Total Income                                                                24,988.76

                         Cost of Goods Sold
                           5115 · Royalties Expense                                                   6,067.72

                         Total COGS                                                                   6,067.72

                      Gross Profit                                                                   18,921.04

                         Expense
                           15000 · Operating Expenses
                              15750 · Insurance                                                295.48
                              15870 · Bank Charges                                           3,566.63
                              16000 · Labor Costs
                                16200 · Employee Benefits
                                    19120 · Partner Life Insurance              147.74

                                 Total 16200 · Employee Benefits                         147.74

                               Total 16000 · Labor Costs                                          147.74

                            Total 15000 · Operating Expenses                                          4,009.85

                            19000 · Member Payments
                              19100 · Mark Spier
                                 19110 · Medical Insurance                            4,965.22
                                 19130 · Guarenteed Pay to Members                    4,000.00

                               Total 19100 · Mark Spier                                      8,965.22

                               19200 · Spier Music Holding
                                 19213 · Guarenteed Pay to Members                  14,000.00

                               Total 19200 · Spier Music Holding                            14,000.00

                            Total 19000 · Member Payments                                            22,965.22

                         Total Expense                                                               26,975.07

                    Net Ordinary Income                                                              -8,054.03

                    Other Income/Expense
                      Other Income
                         24000 · Income from LLC's
                            24400 · Scion Music Group                                        5,100.00

                         Total 24000 · Income from LLC's                                              5,100.00

                         25000 · Income from Office Rental
                           25200 · Rental Expense                                           -32,462.21
                           25300 · Rental Income                                             32,670.92

                         Total 25000 · Income from Office Rental                                           208.71

                      Total Other Income                                                              5,308.71

                      Other Expense
                        29150 · Writeoff - Non-Payable Accounts                                           9.90
                        30100 · Legal Fees - Litigation                                              58,342.31
                        30200 · Financial Consultant                                                  7,500.00
                        31000 · Interest Expense                                                      4,501.03

                         33000 · Tax Expense
                           33100 · NYS Taxes                                                      500.00

                                                                                                                    Page 1
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5:10 PM                                  Memory Lane Music Group LLC
04/21/22                                             Profit & Loss
Accrual Basis                                January 1 through April 21, 2022

                                                                                Jan 1 - Apr 21, 22
                         Total 33000 · Tax Expense                                                      500.00

                       Total Other Expense                                                           70,853.24

                    Net Other Income                                                                 -65,544.53

                  Net Income                                                                         -73,598 56




                                                                                                                  Page 2
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                                 EXHIBIT 5

                          Statement of Cash Flows




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8:34 PM                                         Memory Lane Music Group LLC
04/21/22                                         Statement of Cash Flows
                                                   January 1 through April 21, 2022

                                                                                                            Jan 1 - Apr 21, 22
           OPERATING ACTIVITIES
             Net Income                                                                                             -73,598.56
             Adjustments to reconcile Net Income
             to net cash provided by operations:
                1200 · Accounts Receivable                                                                             139.43
                1201 · Notes Receivable                                                                            206,484.57
                1204 · Financial Advisor Retainer                                                                   -7,500.00
                1205 · Legal Services Retainer                                                                     -75,000.00
                2800 · Loans and Exchange:2835 · Royalty Solutions Corp:2850 · L&E Royalty Solutions 2021           22,500.00
                2000 · Payables:2025 · Accounts Payable                                                            -24,927.05
                2000 · Payables:2050 · Royalties Payable                                                            -2,211.94
                2000 · Payables:2065 · Royalties Payable Intercompany                                                3,040.82
                2000 · Payables:2066 · Royaties Payable - SGA                                                          628.76
                2813 · L&E Adaken Music Holding                                                                     -3,166.23
                2842 · Princess Lola Music                                                                          -9,778.30

           Net cash provided by Operating Activities                                                                 36,611.50

           FINANCING ACTIVITIES
              2300 · Intercompany   Loans:2301 · Larry Spier Music:2351 · LSM - 2022                                -30,200.00
              2300 · Intercompany   Loans:2302 · Scion Three Music:2352 · Scion 3 - 2022                             -4,000.00
              2300 · Intercompany   Loans:2303 · Scion Four Music:2353 · Scion 4 - 2022                                 999.99
              2300 · Intercompany   Loans:2340 · Scion North Music, LLC                                               2,999.90
              2300 · Intercompany   Loans:2349 · Memory Lane Music Limited                                            1,655.27

           Net cash provided by Financing Activities                                                                -28,544.84

       Net cash increase for period                                                                                   8,066.66

       Cash at beginning of period                                                                                   -5,019.00

    Cash at end of period                                                                                             3,047.66




                                                                                                                            Page 1
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                                 EXHIBIT 6

                                 Tax Return




{00040668v2 }
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                                                                              U.S. Return of Partnership Income                                                                                                             OMB No. 1545-0123
Form    1065                                            For calendar year 2020, or tax year beginning                  , 2020,
Department of the Treasury                                                  ending                  , 20         .                                                                                                            2020
Internal Revenue Service                                 G Go to www.irs.gov/Form1065 for instructions and the latest information.
A    Principal business activity                                                                                                                                                                                  D     Employer identification no.

PUBLISHING                                                                                                                                                                                                        XX-XXXXXXX
B    Principal product or service
                                                  Type
                                                                  MEMORY LANE MUSIC GROUP, LLC                                                                                                                    E     Date business started
                                                                  PO BOX 254
MUSIC PUBLISHNG                                    or
                                                                  PORT WASHINGTON, NY 11050                                                                                                                           3/01/2006
                                                  Print
C    Business code number                                                                                                                                                                                         F     Total assets (see instructions)


511190                                                                                                                                                                                                            $                  655,593.
G Check applicable boxes:                              (1)           Initial return          (2)          Final return            (3)           Name change             (4)           Address change                  (5)       Amended return
H Check accounting method: (1)              Cash         (2) X Accrual                         (3)            Other (specify) G
I Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year                                                        G                                                      2
J Check if Schedules C and M-3 are attached . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
K Check if partnership:         (1)    Aggregated activities for section 465 at-risk purposes (2)                                          Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22 below. See the instructions for more information.
              1 a Gross receipts or sales. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1a               339,331.
                b Returns and allowances. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1b
                c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1c                 339,331.
              2      Cost of goods sold (attach Form 1125-A). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     2                  280,790.
    I         3      Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 3                   58,541.
    N
    C         4      Ordinary income (loss) from other partnerships, estates, and trusts
    O                (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                4
    M
    E         5      Net farm profit (loss) (attach Schedule F (Form 1040)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               5
              6      Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          6
              7      Other income (loss)
                     (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .SEE
                                                                                                                                                         . . . . . .STATEMENT
                                                                                                                                                                     . . . . . . . . . . . . . . .1               7                  478,680.
              8      Total income (loss). Combine lines 3 through 7. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       8                     537,221.
        S     9 Salaries and wages (other than to partners) (less employment credits). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                 9
        E
        E    10 Guaranteed payments to partners. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                10                        58,920.
      I      11 Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         11
      N
      S      12 Bad debts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          12
      T
      R      13 Rent. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     13
    D S
    E        14 Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SEE          . . . . . . STATEMENT
                                                                                                                                                                          . . . . . . . . . . . . . . . .2    14                         2,457.
    D F
    U O
    C R
             15 Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     15                        12,614.
    T        16 a Depreciation (if required, attach Form 4562). . . . . . . . . . . . . . . . . . . . . . . . . . . 16 a                                                                 6,528.
    I L
    O I
                b Less depreciation reported on Form 1125-A and elsewhere on return. . . . 16 b                                                                                                               16c                         6,528.
    N M      17 Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            17
    S I
      T      18 Retirement plans, etc . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   18
      A
      T      19 Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           19
             20 Other deductions (att stmt) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SEE     . . . . . . STATEMENT
                                                                                                                                                                          . . . . . . . . . . . . . . . .3
      I
      O
      N
                                                                                                                                                                                                              20                     367,962.
      S      21      Total deductions. Add the amounts shown in the far right column for lines 9 through 20. . . . . . . . . . . . .                                                                          21                     448,481.
             22      Ordinary business income (loss). Subtract line 21 from line 8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   22                      88,740.
    T        23      Interest due under the look-back method ' completed long-term contracts (attach Form 8697) . . . . . .
    A                                                                                                                                                                                                         23
    X        24      Interest due under the look-back method ' income forecast method (attach Form 8866) . . . . . . . . . . . .                                                                              24
    A        25      BBA AAR imputed underpayment (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             25
    N
    D        26      Other taxes (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     26
    P        27      Total balance due. Add lines 23 through 26 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   27
    A
    Y        28      Payment (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    28
    M        29      Amount owed. If line 28 is smaller than line 27, enter amount owed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    E                                                                                                                                                                                                         29
    N        30      Overpayment. If line 28 is larger than line 27, enter overpayment. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    T                                                                                                                                                                                                         30
                         Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is
                         true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of which preparer has any
                         knowledge.
Sign                                                                                                                                                             May the IRS discuss this return
                                                                                                                                                                 with the preparer shown below?
Here
                         A    Signature of partner or limited liability company member                                                Date
                                                                                                                                                                  A
                                                                                                                                                                 See instructions.
                                                                                                                                                                                       Yes       No                                 X
                         Print/Type preparer's name                                           Preparer's signature                                           Date                                                           PTIN
                                                                                                                                                                                             Check           if

Paid                     NICOLE D. FELDMAN, CPA         NICOLE D. FELDMAN, CPA                                                                                                                           P01253717
                                                                                                                                                                                             self-employed

Preparer                 Firm's name    G NICOLE D. FELDMAN, CPA, AN ACCOUNTING                                                                                    CORPO               Firm's EIN G XX-XXXXXXX

Use Only                 Firm's address G 1606 S. OGDEN DRIVE

                                                       LOS ANGELES, CA 90019                                                                                                           Phone no.             (323) 917-5008

BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                            PTPA0105 09/03/20                                                Form 1065 (2020)
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Form 1065 (2020) MEMORY                  LANE MUSIC GROUP, LLC                                                                                                                                     XX-XXXXXXX                                 Page 2
Schedule B                       Other Information
 1       What type of entity is filing this return? Check the applicable box:                                                                                                                                                            Yes    No
     a      Domestic general partnership                b     Domestic limited partnership
     c    X Domestic limited liability company                                        d        Domestic limited liability partnership
     e         Foreign partnership                                                    f        Other G
 2     At the end of the tax year:
     a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
       organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
       the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information on Partners
       Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          X
     b Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of the
       partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information on Partners
       Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          X
 3     At the end of the tax year, did the partnership:
     a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled
       to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i)
       through (iv) below. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    X
                                           (i) Name of Corporation                                                                       (ii) Employer                             (iii) Country of                       (iv) Percentage
                                                                                                                                         Identification                             Incorporation                             Owned in
                                                                                                                                        Number (if any)                                                                     Voting Stock
MEMORY LANE MUSIC LTD                                                                                                             FOREIGN US                               UNITED KINGDO                                                 100.000




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital
        in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a trust? For
        rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                X
                                           (i) Name of Entity                                                                   (ii) Employer                         (iii) Type of               (iv) Country of              (v) Maximum
                                                                                                                                Identification                            Entity                   Organization                 Percentage
                                                                                                                               Number (if any)                                                                                Owned in Profit,
                                                                                                                                                                                                                              Loss, or Capital
LARRY           SPIER MUSIC, LLC                                                                                         XX-XXXXXXX                                                            U.S.                                      100.000
SCION           FOUR MUSIC, LLC                                                                                          XX-XXXXXXX                                                            U.S.                                      100.000
SCION           MUSIC GROUP, LLC                                                                                         XX-XXXXXXX                                                            U.S.                                      100.000
SCION           NORTH MUSIC, LLC                                                                                         XX-XXXXXXX                                                            U.S.                                      100.000
SCION           THREE MUSIC, LLC                                                                                         XX-XXXXXXX                                                            U.S.                                      100.000
  4     Does the partnership satisfy all four of the following conditions?                                                                                                                                                               Yes    No
      a The partnership's total receipts for the tax year were less than $250,000.
      b The partnership's total assets at the end of the tax year were less than $1 million.
      c Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including extensions)
        for the partnership return.
      d The partnership is not filing and is not required to file Schedule M-3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     X
        If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065; or
        item L on Schedule K-1.
  5      Is this partnership a publicly traded partnership as defined in section 469(k)(2)?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               X
  6      During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified so as to
         reduce the principal amount of the debt?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               X
  7      Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide information on
         any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   X
  8      At any time during calendar year 2020, did the partnership have an interest in or a signature or other authority over
         a financial account in a foreign country (such as a bank account, securities account, or other financial account)? See
         instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial
         Accounts (FBAR). If "Yes," enter the name of the foreign country.     G UNITED KINGDOM                                                                                                                                           X
  9      At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or transferor to, a
         foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report Transactions With Foreign
         Trusts and Receipt of Certain Foreign Gifts. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               X
 10 a Is the partnership making, or had it previously made (and not revoked), a section 754 election? . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                  X
      See instructions for details regarding a section 754 election.
    b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes," attach a
      statement showing the computation and allocation of the basis adjustment. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                X
BAA                                                                                                           PTPA0112 09/03/20                                                                                             Form 1065 (2020)
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Form 1065 (2020)                 MEMORY LANE MUSIC GROUP, LLC                                                                                                                                    XX-XXXXXXX                                          Page 3
 Schedule B                      Other Information (continued)
                                                                                                                                                                                                                                               Yes     No
      c Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a substantial
        built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section 734(d))? If "Yes," attach
        a statement showing the computation and allocation of the basis adjustment. See instructions                                                                                                                                                   X
 11     Check this box if, during the current or prior tax year, the partnership distributed any property received in a like-kind
        exchange or contributed such property to another entity (other than disregarded entities wholly owned by the
        partnership throughout the tax year). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
 12     At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other undivided interest
        in partnership property?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      X
 13     If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign Disregarded
        Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached.
        See instructions G
 14     Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's Information
        Statement of Section 1446 Withholding Tax, filed for this partnership. G                                                                                                                                                                       X
 15     Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
        to this return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
 16 a Did you make any payments in 2020 that would require you to file Form(s) 1099? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                    X
      b If "Yes," did you or will you file required Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       X
 17     Enter the number of Forms 5471, Information Return of U.S. Persons With Respect To Certain Foreign Corporations,
        attached to this return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G 1
 18     Enter the number of partners that are foreign governments under section 892.G 0
 19     During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042 and 1042-S
        under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                  X
 20     Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions for
        Form 8938. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   X
 21     Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)? . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                        X
 22     During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are not allowed a
        deduction under section 267A? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            X
        If "Yes," enter the total amount of the disallowed deductions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $
 23     Did the partnership have an election under section 163(j) for any real property trade or business or any farming business in
        effect during the tax year? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      X
 24     Does the partnership satisfy one or more of the following? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   X
   a The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
   b The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
      preceding the current tax year are more than $26 million and the partnership has business interest.
   c The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
      If “Yes” to any, complete and attach Form 8990.
 25 Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions.                                                                                                                               X
      If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
      line 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
      If "No," complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
Name of PR G
                 MARK SPIER
U.S. address of PR
                            A PO BOX 254
                              PORT WASHINGTON,                                      NY 11050
                                                                                                                                                                      U.S. phone
                                                                                                                                                                      number of PR                A       (212) 460-8677

If the PR is an entity, name of the designated individual for the PR                         G
                                                                                                                                                                      U.S. phone
                                                                                                                                                                      number of
U.S. address of
designated
individual
                           A                                                                                                                                          designated
                                                                                                                                                                      individual            A
 26     Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         X
        If "Yes," enter the amount from Form 8996, line 16. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $
 27     Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
        interest in the partnership or of receiving a distribution from the partnership . . . . . . . . . . . . . . . . . . . .G
 28     At any time during the tax year, were there any transfers between the partnership and its partners subject to the
        disclosure requirements of Regulations section 1.707-8?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    X
 29     Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties constituting a trade or business
        of your partnership, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than 50% (for example, the partn-
        ers held more than 50% of the stock of the foreign corporation)? If “Yes,” list the ownership percentage by vote and by value. See instructions.
        Percentage:                                                                                                 By Vote                                                           By Value                                                          X
BAA                                                                                                                                                                                                                               Form 1065 (2020)
                                                                                                                 PTPA0112 09/03/20
                              Case 8-22-70838-ast                                       Doc 2                Filed 04/25/22                            Entered 04/25/22 10:51:41


Form 1065 (2020)                MEMORY LANE MUSIC GROUP, LLC                                                                                                                               XX-XXXXXXX                      Page 4
Schedule K                      Partners' Distributive Share Items                                                                                                                                          Total amount
                  1 Ordinary business income (loss) (page 1, line 22). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        1                 88,740.
                  2 Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             2                    195.
                  3 a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3a
                    b Expenses from other rental activities (attach stmt). . . . . . . . . . . . . . . . . . . . . . . . . . . . 3b
                    c Other net rental income (loss). Subtract line 3b from line 3a. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              3c
                  4 Guaranteed payments: a Services 4a                                           58,920. b Capital 4b
                    c Total. Add lines 4a and 4b. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 4c                58,920.
Income            5 Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          5                  5,204.
(Loss)            6      Dividends and dividend equivalents: a               Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    6a
                         b Qualified dividends         6b                                                      c Dividend equivalents             6c
                  7 Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    7
                  8 Net short-term capital gain (loss) (attach Schedule D (Form 1065)). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       8
                  9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     9a
                    b Collectibles (28%) gain (loss). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       9b
                    c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . .                       9c
                 10 Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       10
                 11 Other income (loss) (see instructions) Type G                                                                                                                                   11
                 12 Section 179 deduction (attach Form 4562). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   12
                 13 a Contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     13a
Deduc-
tions               b Investment interest expense. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    13b
                    c Section 59(e)(2) expenditures: (1) Type G                                                                                                     (2) Amount G                   13c(2)
                    d Other deductions (see instructions) Type G                                                                                   SEE STATEMENT 4                                 13d                5,820.
Self-            14 a Net earnings (loss) from self-employment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               14a              103,290.
Employ-             b Gross farming or fishing income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      14b
ment
                    c Gross nonfarm income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               14c
                 15 a Low-income housing credit (section 42(j)(5)). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                15a
                    b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        15b
                    c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . . . . . . . . . . . . . . . . . . . . . . . . .                               15c
Credits
                    d Other rental real estate credits (see instructions) Type G                                                                                                                   15d
                    e Other rental credits (see instructions) . . . . . . . . . . . Type G                                                                                                         15e
                    f Other credits (see instructions) . . . . . . . . . . . . . . . . . Type G                                                                                                    15f
                 16 a Name of country or U.S. possession . . . G OTHER COUNTRY
                    b Gross income from all sources. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     16b              818,011.
                    c Gross income sourced at partner level. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           16c
                         Foreign gross income sourced at partnership level
                      d Reserved for future use G                                   e Foreign branch category G                                                                                    16e

Foreign
                      f Passive category G                              g General category G                        234,375. h Other (att. stmt.)G                                                 16h
Trans-                  Deductions allocated and apportioned at partner level
actions               i Interest expense G                                       j Other . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G                             16j
                        Deductions allocated and apportioned at partnership level to foreign source income
                      k Reserved for future use G                                                         l Foreign branch category                      G                                         16l
              m Passive category G                                        n General category G                                 227,077. o Other (att. stmt.)G                                      16o
              p Total foreign taxes (check one): G Paid                                         Accrued                                                                                            16p
              q Reduction in taxes available for credit (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                16q
              r Other foreign tax information (attach statement) . . . . . . . . . . . . . . . . . . . . . . .SEE                         . . . . . .STATEMENT
                                                                                                                                                      . . . . . . . . . . . . . . .5.
            17 a Post-1986 depreciation adjustment. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              17a                      -1.
               b Adjusted gain or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                17b
Alternative    c Depletion (other than oil and gas). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           17c
Minimum
Tax (AMT)      d Oil, gas, and geothermal properties ' gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              17d
Items          e Oil, gas, and geothermal properties ' deductions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           17e
               f Other AMT items (attach stmt). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              17f
                 18 a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   18a
                    b Other tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 18b
Other               c Nondeductible expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .SEE   . . . . . .STATEMENT
                                                                                                                                                         . . . . . . . . . . . . . . .6.           18c                 3,643.
Infor-
mation           19 a Distributions of cash and marketable securities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  19a                 3,985.
                    b Distributions of other property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  19b
                 20 a Investment income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           20a                 5,204.
                      b Investment expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           20b
                      c Other items and amounts (attach stmt)
BAA                                                                                                         PTPA0134         09/03/20                                                                           Form 1065 (2020)
                            Case 8-22-70838-ast                                      Doc 2     Filed 04/25/22                        Entered 04/25/22 10:51:41


Form 1065 (2020)MEMORY LANE MUSIC GROUP, LLC                                                                                                                      XX-XXXXXXX                             Page 5
Analysis of Net Income (Loss)
 1     Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
       Schedule K, lines 12 through 13d, and 16p . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        1                   147,239.
 2     Analysis by              (i) Corporate                      (ii) Individual            (iii) Individual               (iv) Partnership                      (v) Exempt               (vi) Nominee/Other
       partner type:                                                   (active)                  (passive)                                                        Organization
     a General
       partners. . . .
     b Limited
       partners. . . .                                                      57,069.                                                     90,170.
Schedule L                    Balance Sheets per Books                                         Beginning of tax year                                                          End of tax year
                                  Assets                                                     (a)                               (b)                                   (c)                          (d)
 1 Cash. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                10,625.                                                           37,838.
 2 a Trade notes and accounts receivable. . . . . . . .                                       21,236.                                                                      9,650.
   b Less allowance for bad debts . . . . . . . . . . . . . . .                                  180.                             21,056.                                    180.                       9,470.
 3 Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 4 U.S. government obligations. . . . . . . . . . . . . . . .
 5 Tax-exempt securities. . . . . . . . . . . . . . . . . . . . . .
 6 Other current assets (attach stmt). . . . . SEE       . . . . . . ST
                                                                     . . . . .7..                                              272,588.                                                           275,370.
 7 a Loans to partners (or persons related to partners). . . . . .
   b Mortgage and real estate loans . . . . . . . . . . . . .
 8 Other investments (attach stmt) . . . . . . SEE       . . . . . . ST
                                                                     . . . . .8..                                              159,322.                                                           203,153.
 9 a Buildings and other depreciable assets. . . . . .                                       126,063.                                                               126,063.
   b Less accumulated depreciation . . . . . . . . . . . . .                                 107,733.                             18,330.                           114,261.                        11,802.
10 a Depletable assets. . . . . . . . . . . . . . . . . . . . . . . . . .
   b Less accumulated depletion . . . . . . . . . . . . . . . .
11 Land (net of any amortization). . . . . . . . . . . . . .
12 a Intangible assets (amortizable only). . . . . . . . .                                   899,275.                                                               899,275.
   b Less accumulated amortization . . . . . . . . . . . . .                                 772,619.                          126,656.                             814,350.                       84,925.
13 Other assets (attach stmt). . . . . .SEE                . . . . . .ST
                                                                       . . . .9..                                               33,730.                                                            33,035.
14 Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  642,307.                                                           655,593.
                Liabilities and Capital
15 Accounts payable. . . . . . . . . . . . . . . . . . . . . . . . . .                                                            12,270.                                                         999,064.
16 Mortgages, notes, bonds payable in less than 1 year . . . .
17 Other current liabilities (attach stmt). . . SEE      . . . . . . ST
                                                                     . . . . .10
                                                                               ..                                         3,090,532.                                                           2,048,938.
18 All nonrecourse loans . . . . . . . . . . . . . . . . . . . . . .
19 a Loans from partners (or persons related to partners). . . .
   b Mortgages, notes, bonds payable in 1 year or more . . . . .
20 Other liabilities (attach stmt) . . . . . . . . SEE
                                                   . . . . . . ST
                                                               . . . . .11
                                                                        710,228.
                                                                        ..                                                                                                                      691,803.
21 Partners' capital accounts . . . . . . . . . . . . . . . . . .    -3,170,723.                                                                                                             -3,084,212.
22 Total liabilities and capital. . . . . . . . . . . . . . . . . .     642,307.                                                                                                                655,593.
Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                 Note: The partnership may be required to file Schedule M-3. See instructions.
 1 Net income (loss) per books. . . . . . . . . . . . . 90,496. 6 Income recorded on books this year not
 2     Income included on Schedule K, lines 1,                                                                     included on Schedule K, lines 1 through
       2, 3c, 5, 6a, 7, 8, 9a, 10, and 11, not                                                                     11 (itemize):
       recorded on books this year (itemize):                                                                    a Tax-exempt interest. . . $


                                                                                                             7     Deductions included on Schedule K, lines 1 through
 3     Guaranteed payments (other than health insurance). .                              53,100.                   13d, and 16p, not charged against book income this
 4     Expenses recorded on books this year not included                                                           year (itemize):
       on Schedule K, lines 1 through 13d, and 16p                                                               a Depreciation . . . . . $
       (itemize):
     a Depreciation. . . . . . . $
     b Travel and
       entertainment. . . . . . $                                                                            8     Add lines 6 and 7. . . . . . . . . . . . . . . . . . . . . . . . .
        STATEMENT 12                                        3,643.  3,643.                                   9     Income (loss) (Analysis of Net Income (Loss), line 1).
 5 Add lines 1 through 4 . . . . . . . . . . . . . . . . . . .    147,239.                                         Subtract line 8 from line 5. . . . . . . . . . . . . . . . . . . . . .         147,239.
Schedule M-2 Analysis of Partners' Capital Accounts
 1 Balance at beginning of year . . . . . . . . . . . .        -3,170,723.                                   6     Distributions:     a Cash . . . . . . . . . . . . . . . . . . . .                    3,985.
 2     Capital contributed: a Cash. . . . . . . . . . . . .                                                                           b Property . . . . . . . . . . . . . . . . .
                                  b Property. . . . . . . . . .                                              7     Other decreases (itemize):
 3     Net income (loss) per books. . . . . . . . . . . . .                              90,496.
 4     Other increases (itemize):
                                                                                                             8     Add lines 6 and 7. . . . . . . . . . . . . . . . . . . . . . . . .             3,985.
 5 Add lines 1 through 4 . . . . . . . . . . . . . . . . . . .                       -3,080,227.             9     Balance at end of year. Subtract line 8 from line 5 . . . .               -3,084,212.
BAA                                                                                            PTPA0134      09/03/20                                                                        Form 1065 (2020)
                               Case 8-22-70838-ast                                       Doc 2                Filed 04/25/22                             Entered 04/25/22 10:51:41



Form    8825                                                   Rental Real Estate Income and Expenses of a
                                                                     Partnership or an S Corporation                                                                                                            OMB No. 1545-0123
(Rev. November 2018)

Department of the Treasury                                                               G Attach to Form 1065 or Form 1120S.
Internal Revenue Service                                                        G Go to www.irs.gov/Form8825 for the latest information.
Name                                                                                                                                                                                           Employer identification number

MEMORY LANE MUSIC GROUP, LLC                                                                                                                                                                   XX-XXXXXXX
  1      Show the type and address of each property. For each rental real estate property listed, report the number of days rented at fair rental
         value and days with personal use. See instructions. See page 2 to list additional properties.

         Physical address of each property ' street, city, state,                                                                                              Type ' Enter code 1'8;                      Fair Rental     Personal
         ZIP code                                                                                                                                                see page 2 for list                          Days         Use Days

  A      PO BOX 254
         PORT WASHINGTON, NY 11050                                                                                                                        4
  B

  C


  D

                                                                                                                                                                 Properties
         Rental Real Estate Income                                                                          A                                        B                                       C                           D



  2     Gross rents. . . . . . . . . . . . . . . . . . . . . . . . . . .           2                       125,936.
        Rental Real Estate Expenses
  3     Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . .         3
  4     Auto and travel. . . . . . . . . . . . . . . . . . . . . . .              4
  5     Cleaning and maintenance. . . . . . . . . . . .                           5
  6     Commissions . . . . . . . . . . . . . . . . . . . . . . . .               6
  7     Insurance. . . . . . . . . . . . . . . . . . . . . . . . . . . .          7
  8     Legal and other professional fees . . . . .                               8
  9     Interest (see instructions). . . . . . . . . . . . .                      9
 10     Repairs. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       10
 11     Taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      11
 12     Utilities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     12
 13     Wages and salaries . . . . . . . . . . . . . . . . . .                   13
 14     Depreciation (see instructions) . . . . . . . .                          14
 15     Other (list)      G
      RENTS - REAL PROPERTY                                                       15
                                                                                                           125,741.




 16     Total expenses for each property.
        Add lines 3 through 15 . . . . . . . . . . . . . . .                      16                       125,741.
 17   Income or (loss) from each property.
      Subtract line 16 from line 2. . . . . . . . . . . 17           195.
 18 a Total gross rents. Add gross rents from line 2, columns A through H . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    18 a           125,936.
    b Total expenses. Add total expenses from line 16, columns A through H. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        18 b          -125,741.
 19   Net gain (loss) from Form 4797, Part II, line 17, from the disposition of property from rental real
      estate activities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   19
 20 a Net income (loss) from rental real estate activities from partnerships, estates, and trusts in which this
      partnership or S corporation is a partner or beneficiary (from Schedule K-1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         20 a
    b Identify below the partnerships, estates, or trusts from which net income (loss) is shown on line 20a.
      Attach a schedule if more space is needed.
      (1) Name                                                                              (2) Employer identification number




 21     Net rental real estate income (loss). Combine lines 18a through 20a. Enter the result here and on:                                                                                               21                     195.
        ? Form 1065 or 1120S: Schedule K, line 2
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                                     SPSZ0101L 11/19/18                          Form 8825 (Rev. 11-2018)
                            Case 8-22-70838-ast                                     Doc 2   Filed 04/25/22             Entered 04/25/22 10:51:41



Form 8825 (Rev. 11-2018) MEMORY                   LANE MUSIC GROUP, LLC                           XX-XXXXXXX                                                        Page 2
  1   Show the type and address of each property. For each rental real estate property listed, report the number of days at fair rental value and
      days with personal use. See instructions.
      Physical address of each property ' street, city,                                                                  Type ' Enter code 1'8;   Fair Rental   Personal
      state, ZIP code                                                                                                       see below for list       Days       Use Days

 E

  F

 G

 H


                                                                                                                          Properties

      Rental Real Estate Income                                                             E                      F                      G                     H



  2   Gross rents. . . . . . . . . . . . . . . . . . . . . . . . . . .         2


      Rental Real Estate Expenses
  3   Advertising. . . . . . . . . . . . . . . . . . . . . . . . . . .          3
  4   Auto and travel. . . . . . . . . . . . . . . . . . . . . . .              4
  5   Cleaning and maintenance . . . . . . . . . . . .                          5
  6   Commissions. . . . . . . . . . . . . . . . . . . . . . . . .              6
  7   Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . .         7
  8   Legal and other professional fees. . . . . .                              8
  9   Interest (see instructions) . . . . . . . . . . . . .                     9
 10   Repairs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      10
 11   Taxes. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     11
 12   Utilities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   12
 13   Wages and salaries. . . . . . . . . . . . . . . . . . .                  13
 14   Depreciation (see instructions). . . . . . . . .                         14
 15   Other (list) G


                                                                               15



 16   Total expenses for each property.
      Add lines 3 through 15. . . . . . . . . . . . . . . .                    16
 17  Income or (loss) from each property.
     Subtract line 16 from line 2. . . . . . . . . . . . 17
Allowable Codes for Type of Property
1 ' Single Family Residence
2 ' Multi-Family Residence
3 ' Vacation or Short-Term Rental
4 ' Commercial
5 ' Land
6 ' Royalties
7 ' Self-Rental
8 ' Other (include description with the code on Form 8825 or on a separate statement)




BAA                                                                                         SPSZ0102L   11/19/18                                  Form 8825 (Rev. 11-2018)
                               Case 8-22-70838-ast                                          Doc 2                Filed 04/25/22                             Entered 04/25/22 10:51:41


Form     1125-A                                                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                                                                               OMB No. 1545-0123
                                                                   G Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                                          G Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                                                                                                             Employer identification number

MEMORY LANE MUSIC GROUP, LLC                                                                                                                                                                     XX-XXXXXXX
   1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   1
   2     Purchases. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2
   3     Cost of labor. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   3
   4     Additional section 263A costs (attach schedule). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               4
   5     Other costs (attach schedule). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .SEE    . . . . . .STATEMENT
                                                                                                                                                        . . . . . . . . . . . . . . .13
                                                                                                                                                                                      ......                  5              280,790.
   6     Total. Add lines 1 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 6              280,790.
   7     Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             7
   8   Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
       appropriate line of your tax return. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      8              280,790.
   9 a Check all methods used for valuing closing inventory:
         (i)   Cost
        (ii)   Lower of cost or market
         (iii)     Other (Specify method used and attach explanation.) G
       b Check if there was a writedown of subnormal goods. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) . . . . . . . . . . . . . . . . . . . G
       d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
         under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
       e If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions. . . . . . .                                                                       Yes                     No

  f Was there any change in determining quantities, cost, or valuations between opening and
    closing inventory? If "Yes," attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Yes    No
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                                                   Form 1125-A (Rev. 11-2018)




                                                                                                                CPCZ0401L          09/26/18
                               Case 8-22-70838-ast                          Doc 2         Filed 04/25/22                Entered 04/25/22 10:51:41

                                                                                                                                                                            651119
Schedule K-1                                                                                            Final K-1                     Amended K-1
(Form 1065)                                                                 2020                   Part III Partner's Share of Current Year Income,
                                                                                                                                                                        OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service                                     For calendar year 2020, or tax year            Deductions, Credits, and Other Items
     beginning                     /       / 2020     ending            /          /               1      Ordinary business income (loss)        15   Credits

Partner's Share of Income, Deductions, Credits, etc.                                                                              44,370.
G See separate instructions.                                                                       2      Net rental real estate income (loss)
  Part I Information About the Partnership                                                         *                                       97.
 A     Partnership's employer identification number                                                3      Other net rental income (loss)         16   Foreign transactions
        XX-XXXXXXX                                                                                                                               A    OC
 B     Partnership's name, address, city, state, and ZIP code                                      4a Guaranteed payments for services
                                                                                                                                  15,820. B                               409,005.
                                                                                                   4b Guaranteed payments for capital
   MEMORY LANE MUSIC GROUP, LLC
   PO BOX 254                                                                                                                                    G                        117,187.
   PORT WASHINGTON, NY 11050                                                                       4c Total guaranteed payments
 C IRS Center where partnership filed return G E-FILE                                                                             15,820. N                               113,538.
                                                                                                   5      Interest income
 D            Check if this is a publicly traded partnership (PTP)
                                                                                                                                    2,602.
  Part II Information About the Partner                                                            6a Ordinary dividends
 E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                                                                                                   6b Qualified dividends
  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                   6c Dividend equivalents                       17   Alternative minimum tax (AMT) items

    MARK SPIER
    PO BOX 254                                                                                     7      Royalties
    PORT WASHINGTON, NY 11050
 G X General partner or LLC Limited partner or other                                               8      Net short-term capital gain (loss)
           member-manager                                      LLC member
H1     X   Domestic partner                                    Foreign partner                     9a Net long-term capital gain (loss)          18   Tax-exempt income and
H2         If the partner is a disregarded entity (DE), enter the partner's:                                                                          nondeductible expenses
           TIN                                Name                                                 9b Collectibles (28%) gain (loss)             C*                           1,821.
 I1    What type of entity is this partner?          INDIVIDUAL
 I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                       9c Unrecaptured section 1250 gain
 J     Partner's share of profit, loss, and capital (see instructions):
                     Beginning                            Ending                                   10     Net section 1231 gain (loss)
       Profit                           50 %                        50                        %                                                  19   Distributions
       Loss                             50 %                        50                        % 11        Other income (loss)
                                                                                                                                                 A                            3,985.
       Capital                          50 %                        50                        %
      Check if decrease is due to sale or exchange of partnership interest. . . . . . . . .
 K     Partner's share of liabilities:
                         Beginning                                    Ending                                                                     20   Other information
                                                                                                   12     Section 179 deduction
       Nonrecourse . . . . . .         $   1,780,164. $                      1,743,552.                                                          A                            2,602.
       Qualified nonrecourse
       financing . . . . . . . .       $              $
       Recourse . . . . . . . .        $     252,701. $                           252,701. 13             Other deductions
                                                                                                                                                 Z* STMT
                                                                                            M                                       5,820.
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis

       Beginning capital account. . . . . . . . . . . . . $                 -1,557,938.
       Capital contributed during the year . . . . . $                                             14     Self-employment earnings (loss)
       Current year net income (loss) . . . . . . . . . $                              45,248.     A                              60,190.
       Other increase (decrease) (attach explanation) . . . . $
       Withdrawals & distributions. . . . . . . . . . . . . $         (         3,985.)
       Ending capital account. . . . . . . . . . . . . . . . $              -1,516,675. 21                 More than one activity for at-risk purposes*
                                                                                                   22      More than one activity for passive activity purposes*
  M Did the partner contribute property with a built-in gain or loss?
                                                                                                   *See attached statement for additional information.
        Yes X No If "Yes," attach statement. See instructions.

  N      Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning. . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
   Ending. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
BAA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                               www.irs.gov/Form1065            Schedule K-1 (Form 1065) 2020
PARTNER 1                                                                                                                                                             PTPA0312L   07/08/20
                   Case 8-22-70838-ast              Doc 2       Filed 04/25/22          Entered 04/25/22 10:51:41


MEMORY LANE MUSIC GROUP, LLC XX-XXXXXXX
SCHEDULE K-1 (FORM 1065) 2020                          SUPPLEMENTAL INFORMATION                                             PAGE   2
    BOX 2
    RENTAL REAL ESTATE ACTIVITIES


                                                      GROSS              NET                  NET           PASSIVE   SEC. 1231
    PROPERTY TYPE AND ADDRESS                        INCOME           EXPENSES              INCOME          NONPASS     TOTAL
    TYPE: 4 - COMMERCIAL
    PO BOX 254 PORT WASHINGTON, NY 11050
                                    62,968.                                62,871. $                 97. PASSIVE
                                                                             TOTAL $                 97.



    BOX 18
    OTHER TAX-EXEMPT INCOME AND NONDEDUCTIBLE EXPENSES


    * DESCRIPTIVE INFORMATION

    C      EXPENSES ON BOOKS NOT ON SCH. K (PERMANENT) . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $    1,821.




PARTNER 1:           MARK SPIER         XXX-XX-XXXX
                                                               SPSL1201L   06/17/20
                  Case 8-22-70838-ast                Doc 2       Filed 04/25/22       Entered 04/25/22 10:51:41


Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 20, Code Z)
Partnership's name: MEMORY LANE MUSIC GROUP, LLC                                   Partnership's EIN: XX-XXXXXXX
Partner's name:     MARK SPIER                                         Partner's identifying number:



                                                MEMORY LANE MUSIC
                                                GROUP, LLC

                                                     PTP                            PTP                          PTP

                                                     Aggregated                     Aggregated                   Aggregated

                                                     SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)                             44,370.
              Rental income (loss) . . . . . . . . . .                        97.
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .             54,782.
Section 199A dividends




                                                     PTP                            PTP                          PTP

                                                     Aggregated                     Aggregated                   Aggregated

                                                     SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




PARTNER 1
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.           PTPA1515   11/30/20   Statement A (Form 1065) (2020)
                               Case 8-22-70838-ast                          Doc 2         Filed 04/25/22                Entered 04/25/22 10:51:41

                                                                                                                                                                            651119
Schedule K-1                                                                                            Final K-1                     Amended K-1
(Form 1065)                                                                 2020                   Part III Partner's Share of Current Year Income,
                                                                                                                                                                        OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service                                     For calendar year 2020, or tax year            Deductions, Credits, and Other Items
     beginning                     /       / 2020     ending            /          /               1      Ordinary business income (loss)        15   Credits

Partner's Share of Income, Deductions, Credits, etc.                                                                              44,370.
G See separate instructions.                                                                       2      Net rental real estate income (loss)
  Part I Information About the Partnership                                                         *                                       98.
 A     Partnership's employer identification number                                                3      Other net rental income (loss)         16   Foreign transactions
        XX-XXXXXXX                                                                                                                               A    OC
 B     Partnership's name, address, city, state, and ZIP code                                      4a Guaranteed payments for services
                                                                                                                                  43,100. AA                              474,576.
                                                                                                   4b Guaranteed payments for capital
   MEMORY LANE MUSIC GROUP, LLC
   PO BOX 254                                                                                                                                    AB                       859,449.
   PORT WASHINGTON, NY 11050                                                                       4c Total guaranteed payments
 C IRS Center where partnership filed return G E-FILE                                                                             43,100. AC                              515,062.
                                                                                                   5      Interest income
 D            Check if this is a publicly traded partnership (PTP)
                                                                                                                                    2,602. AD                             847,783.
  Part II Information About the Partner                                                            6a Ordinary dividends
 E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                          B                        409,006.
                                                                                                   6b Qualified dividends
  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                      *    STMT
                                                                                                   6c Dividend equivalents                       17   Alternative minimum tax (AMT) items
                                                                                                                                                 A                                  -1.
   SPIER MUSIC HOLDING, LLC
   PO BOX 254                                                                                      7      Royalties
   PORT WASHINGTON, NY 11050
 G  General partner or LLC X Limited partner or other                                              8      Net short-term capital gain (loss)
           member-manager                                      LLC member
H1     X   Domestic partner                                    Foreign partner                     9a Net long-term capital gain (loss)          18   Tax-exempt income and
H2         If the partner is a disregarded entity (DE), enter the partner's:                                                                          nondeductible expenses
           TIN                                Name                                                 9b Collectibles (28%) gain (loss)             C*                           1,822.
 I1    What type of entity is this partner?          PARTNERSHIP
 I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                       9c Unrecaptured section 1250 gain
 J     Partner's share of profit, loss, and capital (see instructions):
                     Beginning                            Ending                                   10     Net section 1231 gain (loss)
       Profit                           50 %                        50                        %                                                  19   Distributions
       Loss                             50 %                        50                        % 11        Other income (loss)
       Capital                          50 %                        50                        %
      Check if decrease is due to sale or exchange of partnership interest. . . . . . . . .
 K     Partner's share of liabilities:
                         Beginning                                    Ending                                                                     20   Other information
                                                                                                   12     Section 179 deduction
       Nonrecourse . . . . . .         $   1,780,165. $                      1,743,552.                                                          A                            2,602.
       Qualified nonrecourse
       financing . . . . . . . .       $              $
                                                                                                   13     Other deductions
       Recourse . . . . . . . .        $              $                                                                                          Z* STMT
           Check this box if Item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis

       Beginning capital account. . . . . . . . . . . . . $                 -1,612,785.
       Capital contributed during the year . . . . . $                                             14     Self-employment earnings (loss)
       Current year net income (loss) . . . . . . . . . $                              45,248.     A                              43,100.
       Other increase (decrease) (attach explanation) . . . . $
       Withdrawals & distributions. . . . . . . . . . . . . $
       Ending capital account. . . . . . . . . . . . . . . . $              -1,567,537. 21                 More than one activity for at-risk purposes*
                                                                                                   22      More than one activity for passive activity purposes*
  M Did the partner contribute property with a built-in gain or loss?
                                                                                                   *See attached statement for additional information.
        Yes X No If "Yes," attach statement. See instructions.

  N      Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning. . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
   Ending. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
BAA For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                               www.irs.gov/Form1065            Schedule K-1 (Form 1065) 2020
PARTNER 3                                                                                                                                                             PTPA0312L   07/08/20
                   Case 8-22-70838-ast              Doc 2       Filed 04/25/22          Entered 04/25/22 10:51:41


MEMORY LANE MUSIC GROUP, LLC XX-XXXXXXX
SCHEDULE K-1 (FORM 1065) 2020                          SUPPLEMENTAL INFORMATION                                             PAGE   2
    BOX 2
    RENTAL REAL ESTATE ACTIVITIES


                                                      GROSS              NET                  NET           PASSIVE   SEC. 1231
    PROPERTY TYPE AND ADDRESS                        INCOME           EXPENSES              INCOME          NONPASS     TOTAL
    TYPE: 4 - COMMERCIAL
    PO BOX 254 PORT WASHINGTON, NY 11050
                                    62,968.                                62,871. $                 97. PASSIVE
    ROUNDING OR SPECIALLY ALLOCATED
       NET INCOME (LOSS) ADJUSTMENT                                                                   1.
                                                                               TOTAL $               98.



    BOX 16
    FOREIGN TRANSACTIONS


    CONTINUED FROM SCHEDULE K-1

    G                   117,188.
    N                   113,539.




    BOX 18
    OTHER TAX-EXEMPT INCOME AND NONDEDUCTIBLE EXPENSES


    * DESCRIPTIVE INFORMATION

    C      EXPENSES ON BOOKS NOT ON SCH. K (PERMANENT) . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $    1,822.




PARTNER 3:           SPIER MUSIC HOLDING, LLC                  XX-XXXXXXX
                                                               SPSL1201L   06/17/20
                  Case 8-22-70838-ast                Doc 2       Filed 04/25/22       Entered 04/25/22 10:51:41


Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 20, Code Z)
Partnership's name: MEMORY LANE MUSIC GROUP, LLC                                   Partnership's EIN: XX-XXXXXXX
Partner's name:     SPIER MUSIC HOLDING, LLC                           Partner's identifying number:



                                                MEMORY LANE MUSIC
                                                GROUP, LLC

                                                     PTP                            PTP                          PTP

                                                     Aggregated                     Aggregated                   Aggregated

                                                     SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)                             44,370.
              Rental income (loss) . . . . . . . . . .                        98.
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .             54,782.
Section 199A dividends




                                                     PTP                            PTP                          PTP

                                                     Aggregated                     Aggregated                   Aggregated

                                                     SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




PARTNER 3
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.           PTPA1515   11/30/20   Statement A (Form 1065) (2020)
                             Case 8-22-70838-ast                                  Doc 2             Filed 04/25/22                        Entered 04/25/22 10:51:41

                                                                                                                                                                                                 OMB No. 1545-2195
Form      8938                                         Statement of Specified Foreign Financial Assets
Department of the Treasury
                                                G Go to www.irs.gov/Form8938 for instructions and the latest information.
                                                                       G Attach to your tax return.
                                                                                                                                                                                                    2020
                                                                                                                                                                                                 Attachment
Internal Revenue Service                For calendar year 20 20 or tax year beginning           , 20   and ending         , 20                                                                   Sequence No.   938
                  If you have attached continuation statements, check here                                                        Number of continuation statements. . . . . . . . .
    1   Name(s) shown on return                                                                                                                     2 Taxpayer identification number (TIN)
        MEMORY LANE MUSIC GROUP, LLC                                                                                                                                     XX-XXXXXXX
    3   Type of filer
                    a        Specified individual                      b    X Partnership                                     c        Corporation                                       d       Trust
    4 If you checked box 3a, skip this line 4. If you checked box 3b or 3c, enter the name and TIN of the specified individual who closely holds
      the partnership or corporation. If you checked box 3d, enter the name and TIN of the specified person who is a current beneficiary of the
      trust. (See instructions for definitions and what to do if you have more than one specified individual or specified person to list.)
        a Name     MARK SPIER. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . b TIN XXX-XX-XXXX
Part I           Foreign Deposit and Custodial Accounts Summary
    1     Number of deposit accounts (reported in Part V). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G                                  1
    2     Maximum value of all deposit accounts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       $              59,384.
    3     Number of custodial accounts (reported in Part V). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
    4     Maximum value of all custodial accounts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        $                      0.
    5     Were any foreign deposit or custodial accounts closed during the tax year?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            Yes          X No
Part II Other Foreign Assets Summary
    1     Number of foreign assets (reported in Part VI). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
    2     Maximum value of all assets (reported in Part VI). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               $
    3     Were any foreign assets acquired or sold during the tax year? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                Yes               No
Part III            Summary of Tax Items Attributable to Specified Foreign Financial Assets (see instructions)
                                                                                                (c) Amount reported on                                          Where reported
           (a) Asset category                                   (b) Tax item                        form or schedule                              (d) Form and line        (e) Schedule and line
1       Foreign deposit and                  $        a    Interest
        custodial accounts                   $        b    Dividends
                                             $        c    Royalties
                                             $        d    Other income
                                             $        e    Gains (losses)
                                             $        f    Deductions
                                             $        g    Credits
2 Other foreign assets                       $        a    Interest
                                             $        b    Dividends
                                             $        c    Royalties
                                             $        d    Other income
                                             $        e    Gains (losses)
                                             $        f    Deductions
                                             $        g    Credits
Part IV Excepted Specified Foreign Financial Assets (see instructions)
If you reported specified foreign financial assets on one or more of the following forms, enter the number of such forms filed. You do not need
to include these assets on Form 8938 for the tax year.
1 Number of Forms 3520                             2 Number of Forms 3520-A                           3 Number of Forms 5471 1
4 Number of Forms 8621                             5 Number of Forms 8865
Part V Detailed Information for Each Foreign Deposit and Custodial Account Included in the Part I Summary
       (see instructions)
If you have more than one account to report in Part V, attach a continuation statement for each additional account. See instructions.
                                       X Deposit                                                      2 Account number or other designation
   1 Type of account                                                 Custodial
                                                                                                                                                             10807020
    3     Check all that apply                 a           Account opened during tax year                                 b           Account closed during tax year
                                               c           Account jointly owned with spouse                   X No tax item reported in Part III with respect to this asset
                                                                                                                          d
    4 Maximum value of account during tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $ 59,384.
    5 Did you use a foreign currency exchange rate to convert the value of the account into U.S. dollars?. . . . . . . . . . . . . . . . . X Yes                                      No
    6     If you answered 'Yes' to line 5, complete all that apply.
          (a) Foreign currency in which               (b) Foreign currency exchange rate used                                                           (c) Source of exchange rate used if not from U.S.
          account is maintained                       to convert to U.S. dollars                                                                        Treasury Department's Bureau of the Fiscal Service
          UNITED KINGDOM POUND                                               0.7843                                                                     UNITED STATES TREASURY
BAA For Paperwork Reduction Act Notice, see the separate instructions.                                                                  FDIA5612L      09/21/20                                      Form 8938 (2020)
                             Case 8-22-70838-ast                                    Doc 2              Filed 04/25/22                         Entered 04/25/22 10:51:41


Form 8938 (2020)  MEMORY LANE MUSIC GROUP, LLC                                       XX-XXXXXXX         Page 2
Part V Detailed Information for Each Foreign Deposit and Custodial Account Included in the Part I Summary
       (see instructions) (continued)
7a        Name of financial institution in which account is maintained                                                    b Global Intermediary Identification Number (GIIN) (Optional)
          NATWEST,
  8       Mailing address of financial institution in which account is maintained. Number, street, and room or suite no.
          PO BOX NO159, 332 HIGH HOLBORN
  9       City or town, state or province, and country (including postal code)
     LONDON WC1V 7PS UNITED KINGDOM
Part VI Detailed Information for Each 'Other Foreign Asset' Included in the Part II Summary (see instructions)
If you have more than one asset to report in Part VI, attach a continuation statement for each additional asset. See instructions.
  1       Description of asset                                                                                        2     Identifying number or other designation

  3     Complete all that apply. See instructions for reporting of multiple acquisition or disposition dates.
      a Date asset acquired during tax year, if applicable . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
      b Date asset disposed of during tax year, if applicable . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
      c    Check if asset jointly owned with spouse                               d              Check if no tax item reported in Part III with respect to this asset
  4       Maximum value of asset during tax year (check box that applies)
      a      $0-$50,000              b       $50,001-$100,000           c                                                   $100,001-$150,000                              d           $150,001-$200,000
      e If more than $200,000, list value. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $
  5       Did you use a foreign currency exchange rate to convert the value of the asset into U.S. dollars? . . . . . . . . . . . . . . . . . . .                                                          Yes          No
  6       If you answered 'Yes' to line 5, complete all that apply.
          (a) Foreign currency in which asset         (b) Foreign currency exchange rate used                                                               (c) Source of exchange rate used if not from U.S.
          is denominated                              to convert to U.S. dollars                                                                            Treasury Department's Bureau of the Fiscal Service


  7       If asset reported on line 1 is stock of a foreign entity or an interest in a foreign entity, enter the following information for the asset.
      a Name of foreign entity                                                           b GIIN (Optional)
      c Type of foreign entity     (1)      Partnership               (2)     Corporation            (3)                                                                   Trust                     (4)       Estate
      d Mailing address of foreign entity. Number, street, and room or suite no.

      e City or town, state or province, and country (including postal code)


  8       If asset reported on line 1 is not stock of a foreign entity or an interest in a foreign entity, enter the following information for
          the asset.

          Note: If this asset has more than one issuer or counterparty, attach a continuation statement with the same information for each
          additional issuer or counterparty. See instructions.
      a Name of issuer or counterparty
        Check if information is for                                              Issuer                                     Counterparty
      b Type of issuer or counterparty
        (1)     Individual                (2)    Partnership        (3)    Corporation         (4)                                                                   Trust                     (5)         Estate
      c Check if issuer or counterparty is a            U.S. person             Foreign person
      d Mailing address of issuer or counterparty. Number, street, and room or suite no.

      e City or town, state or province, and country (including postal code)


                                                                                                                                                                                                           Form 8938 (2020)




                                                                                                      FDIA5612L      09/21/20
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SCHEDULE B-1                                              Information on Partners Owning 50% or
(Form 1065)
(Rev. August 2019)
                                                                 More of the Partnership                                                                        OMB No. 1545-0123
Department of the Treasury
                                                                           G Attach to Form 1065.
Internal Revenue Service                                   G Go to www.irs.gov/Form1065 for the latest information.
Name of partnership                                                                                                                   Employer identification number (EIN)

MEMORY LANE MUSIC GROUP, LLC                                                   XX-XXXXXXX
 Part I Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
        2009 through 2017))
Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership),
trust, tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or
capital of the partnership (see instructions).
                                                                                                                                                (iv)                 (v) Maximum
                                   (i) Name of Entity                                  (ii) Employer         (iii) Type of Entity
                                                                                                                                      Country of Organization     Percentage Owned
                                                                                   Identification Number
                                                                                                                                                                    in Profit, Loss,
                                                                                           (if any)
                                                                                                                                                                       or Capital



SPIER MUSIC HOLDING, LLC                                                                                    PTRSHIP.                  U.S.                               50.000




  Part II        Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                 (Question 3b for 2009 through 2017))
Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the profit,
loss, or capital of the partnership (see instructions).
                                                                                                                                                                   (iv) Maximum
                                                                                  (ii) Identifying Number
                             (i) Name of Individual or Estate                                                (iii) Country of Citizenship (see instructions)    Percentage Owned in
                                                                                           (if any)
                                                                                                                                                                    Profit, Loss,
                                                                                                                                                                      or Capital



MARK SPIER                                                                                                  UNITED STATES                                              100.000

MARK SPIER                                                                                                  UNITED STATES                                                50.000




BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                         Schedule B-1 (Form 1065) (Rev. 8-2019)




                                                                             PTPA1301L   07/18/19
                            Case 8-22-70838-ast                               Doc 2            Filed 04/25/22                      Entered 04/25/22 10:51:41




Form      5471                                       Information Return of U.S. Persons With Respect
                                                             to Certain Foreign Corporations
                                                                                                                                                                                              OMB No. 1545-0123


(Rev. December 2020)                           G Go to www.irs.gov/Form5471 for instructions and the latest information.
                                     Information furnished for the foreign corporation's annual accounting period (tax year required by                                                       Attachment
Department of the Treasury                                                                                                                                                                    Sequence No.     121
Internal Revenue Service             section 898) (see instructions) beginning             ,        , and ending              ,
Name of person filing this return                                                                                           A     Identifying number

MEMORY LANE MUSIC GROUP, LLC                                                                                                      XX-XXXXXXX
Number, street, and room or suite no. (or P.O. box number if mail is not delivered to street address)                       B     Category of filer (See instructions. Check applicable box(es).):

PO BOX 254                                                                                                                       1a      1b       1c        2   X   3      4   X     5a   X    5b         5c
City or town, state, and ZIP code
                                                                                                                            C     Enter the total percentage of the foreign corporation's voting stock you

PORT WASHINGTON, NY 11050                                                                                                         owned at the end of its annual accounting period             100.0000 %
Filer's tax year beginning                                       1/01 ,       2020       , and ending                                 12/31 ,           2020
  D       Check box if this is a final Form 5471 for the foreign corporation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  E       Check if any excepted specified foreign financial assets are reported on this form (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     X
  F       Check the box if this Form 5471 has been completed using “Alternative Information” under Rev. Proc. 2019-40. . . . . . . . . . . . . . . . . . . . . . .
  G If the box on line F is checked, enter the corresponding code for “Alternative Information” (see instructions) . . . . . . . . . . . . . . G
  H       Person(s) on whose behalf this information return is filed:
                                                                                                                                                                            (4) Check applicable box(es)
                            (1) Name                                                           (2) Address                                (3) Identifying number
                                                                                                                                                                            Shareholder         Officer        Director




Important: Fill in all applicable lines and schedules. All information must be in English. All amounts must be stated in U.S.
                      dollars unless otherwise indicated.
  1a      Name and address of foreign corporation                                                                                                   b (1)   Employer identification number, if any

MEMORY LANE MUSIC LTD                                                                                                                                       FOREIGN US
8TH FL IMPERIAL HOUSE, 15-19 KINGSWAY                                                                                                               b (2)   Reference ID number (see instructions)

LONDON, WC2B 6UN UNITED KINGDOM                                                                                                                             MEMORYLANEMUSICLTD
                                                                                                                                                    c       Country under whose laws incorporated

                                                                                                                                                            UNITED KINGDOM
      d Date of incorporation             e   Principal place of business            f   Principal business activity            g Principal business activity                  h   Functional currency code
                                                                                                code number


             7/31/1978                 UNITED KINGDOM                                     511190                            MUSIC PUBLSHNG                          GBP
  2       Provide the following information for the foreign corporation's accounting period stated above.
      a   Name, address, and identifying number of branch office or agent (if any) in the                          b If a U.S. income tax return was filed, enter:
          United States
                                                                                                                                                                               (ii) U.S. income tax paid
                                                                                                                          (i) Taxable income or (loss)
N/A                                                                                                                                                                                  (after all credits)




      c   Name and address of foreign corporation's statutory or resident agent in country                         d Name and address (including corporate department, if applicable) of person (or
          of incorporation                                                                                             persons) with custody of the books and records of the foreign corporation, and the
                                                                                                                       location of such books and records, if different
MEMORY LANE MUSIC LTD                                                                                         MEMORY LANE MUSIC LTD
8TH FL IMPERIAL HOUSE, 15-19 KINGSWAY                                                                         8TH FL IMPERIAL HOUSE, 15-19 KINGSWAY
LONDON,                                                                                                       LONDON,
WC2B 6UN UNITED KINGDOM                                                                                       WC2B 6UN UNITED KINGDOM
Schedule A Stock of the Foreign Corporation
                                                                                                                                 (b) Number of shares issued and outstanding
                                   (a) Description of each class of stock                                                       (i) Beginning of annual                                (ii) End of annual
                                                                                                                                    accounting period                                  accounting period

COMMON                                                                                                                                                          100.



BAA For Paperwork Reduction Act Notice, see instructions.                                                                 CPCA8712L      09/02/20                              Form 5471 (Rev. 12-2020)
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                    MEMORY LANE MUSIC GROUP, LLC
Form 5471 (Rev. 12-2020)                                                                                                 XX-XXXXXXX                       Page 2
Schedule B Shareholders of Foreign Corporation
Part I   U.S. Shareholders of Foreign Corporation (see instructions)
                                                  (b) Description of each class of stock held by     (c) Number of         (d) Number of      (e) Pro rata share
      (a) Name, address, and identifying           shareholder. Note: This description should         shares held at      shares held at         of Subpart F
            number of shareholder                     match the corresponding description          beginning of annual     end of annual      income (enter as
                                                       entered in Schedule A, column (a).           accounting period    accounting period      a percentage)

MEMORY LANE MUSIC GROUP LLC COMMON                                                                             100.                 100.
PO BOX 254
PORT WASHINGTON,, NY 11050
XX-XXXXXXX




Part II     Direct Shareholders of Foreign Corporation (see instructions)
                                                                                                                          (c) Number of         (d) Number of
(a) Name, address, and identifying number of shareholder.   (b) Description of each class of stock held by shareholder.
                                                                                                                           shares held at      shares held at
          Also include country of incorporation               Note: This description should match the corresponding
                                                                                                                        beginning of annual     end of annual
               or formation, if applicable.                       description entered in Schedule A, column (a).         accounting period    accounting period




BAA                                                                                                                                 Form 5471 (Rev. 12-2020)




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                                                                                                                                                                                          PAGE 1 OF 1
                  MEMORY LANE MUSIC GROUP, LLC
Form 5471 (Rev. 12-2020)                                                                                                                                                         XX-XXXXXXX      Page 3
Schedule C Income Statement (see instructions)
Important: Report all information in functional currency in accordance with U.S. GAAP. Also, report each amount in U.S. dollars translated
from functional currency (using GAAP translation rules). However, if the functional currency is the U.S. dollar, complete only the U.S. Dollars
column. See instructions for special rules for DASTM corporations.
                                                                                                                                                                      Functional Currency      U.S. Dollars
              1 a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     1a           134,456.              171,434.
                b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1b
                c Subtract line 1b from line 1a. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          1c           134,456.              171,434.
              2 Cost of goods sold . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    2            117,755.              150,140.
    I         3 Gross profit (subtract line 2 from line 1c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3             16,701.               21,294.
    N         4 Dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            4
    C         5 Interest. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         5
    O         6 a Gross rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           6a
    M                                                                                                                                                           6b
                b Gross royalties and license fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    E
              7 Net gain or (loss) on sale of capital assets. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       7
              8 a Foreign currency transaction gain or loss—unrealized. . . . . . . . . . . . . . . . . . . . .                                                 8a
                b Foreign currency transaction gain or loss—realized. . . . . . . . . . . . . . . . . . . . . . .                                               8b
              9 Other income (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 9
             10 Total income (add lines 3 through 9). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   10             16,701.               21,294.
             11 Compensation not deducted elsewhere . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         11             12,500.               15,938.
    D                                                                                                                                                          12 a
             12a Rents. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    E
    D          b Royalties and license fees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        12 b
    U        13 Interest. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         13
    C        14 Depreciation not deducted elsewhere. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      14
    T                                                                                                                                                           15
             15 Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    I
    O        16 Taxes (exclude income tax expense (benefit)). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             16
    N        17 Other deductions (attach statement ' exclude income tax expense
    S            (benefit)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .SEE
                                                                                                          . . . . . .STATEMENT
                                                                                                                      . . . . . . . . . . . . . . . 14
                                                                                                                                                    ..         17              18,480.               23,562.
             18 Total deductions (add lines 11 through 17). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        18              30,980.               39,500.
    N
    E
             19 Net income or (loss) before unusual or infrequently occurring items, and
    T           income tax expense (benefit) (subtract line 18 from line 10). . . . . . . . . . . . . . .                                                      19            -14,279.              -18,206.
             20 Unusual or infrequently occurring items. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      20
     I
    N        21 a Income tax expense (benefit)—current. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    21 a
    C
    O           b Income tax expense (benefit)—deferred . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      21 b
    M
    E        22     Current year net income or (loss) per books (combine lines 19 through 21b) 22                                                                            -14,279.              -18,206.
             23a    Foreign currency translation adjustments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   23 a
  Other
Comprehen-      b   Other. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   23 b
   sive         c   Income tax expense (benefit) related to other comprehensive income. . . . . .                                                              23 c
  Income     24     Other comprehensive income (loss), net of tax (line 23a plus line 23b less
                    line 23c). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     24
BAA                                                                                                                                                                                    Form 5471 (Rev. 12-2020)




                                                                                                          CPCA8734L          09/02/20
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                   MEMORY LANE MUSIC GROUP, LLC
Form 5471 (Rev. 12-2020)                                                                                                                                                                               XX-XXXXXXX                             Page 4
Schedule F Balance Sheet
Important: Report all amounts in U.S. dollars prepared and translated in accordance with U.S. GAAP. See instructions for an
exception for DASTM corporations.
                                                                                                                                                                                             (a)                                        (b)
                                                                        Assets                                                                                                       Beginning of annual                           End of annual
                                                                                                                                                                                      accounting period                          accounting period

 1 Cash. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        1                          24,469.                                    59,384.
 2 a Trade notes and accounts receivable. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   2a                          1,221.                                       221.
   b Less allowance for bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           2b
 3 Derivatives . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3
 4      Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        4
 5      Other current assets (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  5
 6      Loans to shareholders and other related persons. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           6                       102,713.                                 104,701.
 7      Investment in subsidiaries (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      7
 8 Other investments (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     8
 9 a Buildings and other depreciable assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   9a
   b Less accumulated depreciation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             9b
10 a Depletable assets. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                10 a
  b Less accumulated depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           10 b
11 Land (net of any amortization) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            11
12 Intangible assets:
     a Goodwill. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     12 a
     b Organization costs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              12 b
     c Patents, trademarks, and other intangible assets. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         12 c
     d Less accumulated amortization for lines 12a, 12b, and 12c. . . . . . . . . . . . . . . . . . . . . . . . . .                                                  12 d
13 Other assets (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              13
14 Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             14                       128,403.                                 164,306.
                                       Liabilities and Shareholders' Equity
15 Accounts payable . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   15                       149,240.                                 200,504.
16 Other current liabilities (attach statement) . . . . . . . . . . . .SEE                       . . . . . . STATEMENT
                                                                                                             . . . . . . . . . . . . . . . 15
                                                                                                                                           ........                   16                          -603.                                   7,579.
17 Derivatives . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            17
18 Loans from shareholders and other related persons . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  18
19 Other liabilities (attach statement). . . . . . . . . . . . . . . . . . . .SEE                . . . . . . STATEMENT
                                                                                                             . . . . . . . . . . . . . . . 16
                                                                                                                                           ........                   19                         19,053.                                    17,037.
20 Capital stock:
     a Preferred stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           20 a
     b Common stock. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             20 b                                 133.                                 137.
21 Paid-in or capital surplus (attach reconciliation). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         21
22 Retained earnings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  22                        -39,420.                                 -60,951.
23 Less cost of treasury stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         23
24 Total liabilities and shareholders' equity . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   24                       128,403.                                 164,306.
Schedule G Other Information
                                                                                                                                                                                                                                             Yes     No
 1      During the tax year, did the foreign corporation own at least a 10% interest, directly or indirectly, in any foreign
        partnership?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            X
        If "Yes," see the instructions for required statement.
 2   During the tax year, did the foreign corporation own an interest in any trust? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      X
 3   During the tax year, did the foreign corporation own any foreign entities that were disregarded as separate from their owner
     under Regulations sections 301.7701-2 and 301.7701-3 or did the foreign corporation own any foreign branches (see
     instructions)?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               X
     If "Yes," you are generally required to attach Form 8858 for each entity or branch (see instructions).
 4 a During the tax year, did the filer pay or accrue any base erosion payment under section 59A(d) to the foreign corporation
     or did the filer have a base erosion tax benefit under section 59A(c)(2) with respect to a base erosion payment made or
     accrued to the foreign corporation (see instructions)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  X
     If "Yes," complete lines 4b and 4c.
   b Enter the total amount of the base erosion payments. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $
     c Enter the total amount of the base erosion tax benefit. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         G$
 5 a During the tax year, did the foreign corporation pay or accrue any interest or royalty for which the deduction is not allowed
     under section 267A? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       X
     If "Yes," complete line 5b.
   b Enter the total amount of the disallowed deductions (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . G $
BAA                                                                                                            CPCA8734L          09/02/20                                                                       Form 5471 (Rev. 12-2020)
                               Case 8-22-70838-ast                                         Doc 2                 Filed 04/25/22                             Entered 04/25/22 10:51:41


Form 5471 (Rev. 12-2020)              MEMORY LANE MUSIC GROUP, LLC                                                                                                                                  XX-XXXXXXX                              Page 5
Schedule G                     Other Information (continued)
                                                                                                                                                                                                                                           Yes   No
   6 a Is the filer of this Form 5471 claiming a foreign-derived intangible income deduction (under section 250) with respect to any
       amounts listed on Schedule M?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          X
       If "Yes," complete lines 6b, 6c, and 6d.
       b Enter the amount of gross income derived from sales, leases, exchanges, or other dispositions (but not licenses) from
         transactions with the foreign corporation that the filer included in its computation of foreign-derived deduction eligible
         income (FDDEI) (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $
       c Enter the amount of gross income derived from a license of property to the foreign corporation that the filer included
         in its computation of FDDEI (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $
       d Enter the amount of gross income derived from services provided to the foreign corporation that the filer included
         in its computation of FDDEI (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $

   7     During the tax year, was the foreign corporation a participant in any cost-sharing arrangement? . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               X
   8     During the course of the tax year, did the foreign corporation become a participant in any cost-sharing arrangement?. . . . . . . . .                                                                                                   X
   9     If the answer to question 7 is "Yes," was the foreign corporation a participant in a cost-sharing arrangement that was in
         effect before January 5, 2009?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     X
 10      If the answer to question 7 is "Yes," did a U.S. taxpayer make any platform contributions as defined under Regulations
         section 1.482-7(c) to that cost-sharing arrangement during the taxable year? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              X
 11      If the answer to question 10 is "Yes," enter the present value of the platform contributions in
         U.S. dollars. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   G$
 12      If the answer to question 10 is "Yes," check the box for the method under Regulations section 1.482-7(g) used to determine
         the price of the platform contribution transaction(s):
                 Comparable uncontrolled transaction method                                                     Income method                                                       Acquisition price method
                 Market capitalization method                                                                   Residual profit split method                                        Unspecified methods
 13      From April 25, 2014, to December 31, 2017, did the foreign corporation purchase stock or securities of a shareholder of the
         foreign corporation for use in a triangular reorganization (within the meaning of Regulations section 1.358-6(b)(2))?. . . . . . . . . . .                                                                                              X
 14 a Did the foreign corporation receive any intangible property in a prior year or the current tax year for which the U.S. transferor
      is required to report a section 367(d) annual income inclusion for the taxable year?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      X
      If "Yes," go to line 14b.
    b Enter the amount of the earnings and profits reduction pursuant to section 367(d)(2)(B) for the taxable
      year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $

 15      During the tax year, was the foreign corporation an expatriated foreign subsidiary under Regulations section
         1.7874-12(a)(9)?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         X
         If "Yes," see instructions and attach statement.

 16      During the tax year, did the foreign corporation participate in any reportable transaction as defined in Regulations
         section 1.6011-4?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          X
         If "Yes," attach Form(s) 8886 if required by Regulations section 1.6011-4(c)(3)(i)(G).
 17      During the tax year, did the foreign corporation pay or accrue any foreign tax that was disqualified for credit under
         section 901(m)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         X
 18      During the tax year, did the foreign corporation pay or accrue foreign taxes to which section 909 applies, or treat foreign
         taxes that were previously suspended under section 909 as no longer suspended?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       X
 19      Did you answer "Yes" to any of the questions in the instructions for line 19?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                            X

         If "Yes," enter the corresponding code(s) from the instructions and attach statement G
 20      Does the foreign corporation have interest expense disallowed under section 163(j) (see instructions)?. . . . . . . . . . . . . . . . . . . . . . .                                                                                     X
         If "Yes," enter the amount . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $
 21      Does the foreign corporation have previously disallowed interest expense under section 163(j) carried forward to
         the current tax year (see instructions)?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           X
         If "Yes," enter the amount . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $
 22 a Did any extraordinary reduction with respect to a controlling section 245A shareholder occur during the tax year
      (see instructions)?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             X
       b If the answer to question 22a is “Yes,” was an election made to close the tax year such that no amount is treated
         as an extraordinary reduction amount or tiered extraordinary reduction amount (see instructions)?. . . . . . . . . . . . . . . . . . . . . . . . . . .
BAA                                                                                                                                                                                                            Form 5471 (Rev. 12-2020)




                                                                                                       CPCA8734L          09/02/20
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Form 5471 (Rev. 12-2020)                       MEMORY LANE MUSIC GROUP, LLC                                                                                                                             XX-XXXXXXX               Page 6
Schedule I                  Summary of Shareholder's Income From Foreign Corporation (see instructions)
If item H on page 1 is completed, a separate Schedule I must be filed for each Category 4, 5a, or 5b filer for whom reporting is furnished on
this Form 5471. This Schedule I is being completed for:MEMORY LANE MUSIC GROUP, LLC

Name of U.S. shareholder G                         MEMORY LANE MUSIC GROUP, LLC                                                                             Identifying number G                    XX-XXXXXXX
  1 a Section 964(e)(4) subpart F dividend income from the sale of stock of a lower-tier foreign corporation ( see
         instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   1a
      b Section 245A(e)(2) subpart F income from hybrid dividends of tiered corporations (see instructions). . . . . . . . .                                                                                   1b
      c Subpart F income from tiered extraordinary disposition amounts not eligible for subpart F exception
        under section 954(c)(6). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               1c
      d Subpart F income from tiered extraordinary reduction amounts not eligible for subpart F exception
        under section 954(c)(6). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               1d
      e Section 954(c) Subpart F Foreign Personal Holding Company Income (enter result from Worksheet A). . . . . . .                                                                                          1e
   f Section 954(d) Subpart F Foreign Base Company Sales Income (enter result from Worksheet A). . . . . . . . . . . .                                                                                         1f
   g Section 954(e) Subpart F Foreign Base Company Services Income (enter result from Worksheet A) . . . . . . . . .                                                                                           1g
   h Other subpart F income (enter result from Worksheet A). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 1h
  2 Earnings invested in U.S. property (enter the result from Worksheet B). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              2
  3 Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3
  4      Factoring income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4
      See instructions for reporting amounts on lines 1, 2, and 4 on your income tax return.
  5 a Section 245A eligible dividends (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       5a
    b Extraordinary disposition amounts (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           5b
    c Extraordinary reduction amounts (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          5c
    d Section 245A(e) dividends (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    5d
    e Dividends not reported on line 5a, 5b, 5c, or 5d. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      5e
  6      Exchange gain or (loss) on a distribution of previously taxed earnings and profits . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                6
                                                                                                                                                                                                                               Yes No
  7 a Was any income of the foreign corporation blocked? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   X
      b Did any such income become unblocked during the tax year (see section 964(b))? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             X
 If the answer to either question is "Yes," attach an explanation.
  8 a Did this U.S. shareholder have an extraordinary disposition (ED) account with respect to the foreign corporation at
      any time during the tax year (see instructions)?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            X
      b If the answer to question 8a is "Yes," enter the U.S. shareholder’s ED account balance at the beginning of the CFC year
        $                        and at the end of the tax year $                        . Provide an attachment detailing any changes from
        the beginning to the ending balances.
   c Enter the CFC’s aggregate ED account balance with respect to all U.S. shareholders at the beginning of the CFC year
     $                        and at the end of the tax year $                        . Provide an attachment detailing any changes from
     the beginning to the ending balances.
  9 Enter the sum of the hybrid deduction accounts with respect to stock of the foreign corporation (see instructions) $
BAA                                                                                                                                                                                                            Form 5471 (Rev. 12-2020)




                                                                                                                 CPCA8734L          09/02/20
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SCHEDULE E                                                                 Income, War Profits, and Excess Profits Taxes Paid or Accrued
(Form 5471)
(Rev. December 2020)                                                                                                                                                                                                                                                        OMB No. 1545-0123
                                                                                                                 G Attach to Form 5471.
Department of the Treasury                                                               G Go to www.irs.gov/Form5471 for instructions and the latest information.
Internal Revenue Service
Name of person filing Form 5471                                                                                                                                                                                                                               Identifying number

MEMORY LANE MUSIC GROUP, LLC                                                                                                                                                                                                                                  XX-XXXXXXX
Name of foreign corporation                                                                                                                                                                                          EIN (if any)                             Reference ID number (see instructions)

MEMORY LANE MUSIC LTD                                                                                                                                                                                             FOREIGN US                                  MEMORYLANEMUSICLTD
  a Separate Category (Enter code ' see instructions.). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G GEN
  b If code 901j is entered on line a, enter the country code for the sanctioned country (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
 Part I   Taxes for Which a Foreign Tax Credit Is Allowed
Section 1 ' Taxes Paid or Accrued Directly by Foreign Corporation
                                                                                                                                (b)                                      (c)                                                      (d)                                                (e)
                                                        (a)                                                               EIN or Reference            Country or U.S. Possession to Which Tax Is                   Foreign Tax Year of Payor Entity                     U.S. Tax Year of Payor Entity
                                                Name of Payor Entity                                                       ID Number of                  Paid (Enter code—see instructions.                              to Which Tax Relates                               to Which Tax Relates
                                                                                                                            Payor Entity                    Use a separate line for each.)                                 (Year/Month/Day)                                   (Year/Month/Day)

  1
  2
  3
  4
                           (f)                                      (g)                                    (h)                                           (i)                                      (j)                                         (k)                                       (l)
                 Income Subject to Tax                     If taxes are paid on                     Local Currency in                         Tax Paid or Accrued                         Conversion Rate to                            In U.S. Dollars                       In Functional Currency
               in the Foreign Jurisdiction                 U.S. source income,                    Which Tax Is Payable                     (in local currency in which
                    (see instructions)                           check box                   (enter code — see instructions)                    the tax is payable)                          U.S. Dollars                     (divide column (i) by column (j))               of Foreign Corporation


  1
  2
  3
  4
  5     Total (combine lines 1 through 4 of column (k)). Also report amount on Schedule E-1, line 4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
  6     Total (combine lines 1 through 4 of column (l)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
Section 2'Taxes Deemed Paid (Section 960(b))
                                                                                                                                (b)                                        (c)                                                                            (e)
                                                                                                                                                                                                                            (d)
                                                        (a)                                                               EIN or Reference              Country or U.S. Possession to Which Tax Is                                                Annual PTEP Account
                                                                                                                                                                                                                       PTEP Group
                                                Name of Payor Entity                                                       ID Number of                    Paid (Enter code—see instructions.                                                         (enter year)
                                                                                                                                                                                                                       (enter code)
                                                                                                                            Payor Entity                      Use a separate line for each.)

  1
  2
  3
  4

                                                                                                                                                                                          (h)                                                                         (i)
                                        (f)                                                                       (g)
                                                                                                                                                                   Total Amount of the PTEP Group Taxes With Respect                         Foreign Income Taxes Properly Attributable to PTEP
                                PTEP Distributed                                                         Total Amount of PTEP
                                                                                                                                                                                 to PTEP Group (USD)                                                   and not Previously Deemed Paid
                       (enter amount in functional currency)                                   in the PTEP Group (in functional currency)                                                                                                       ((column (f)/column (g)) x column (h)) (USD)

  1
  2
  3
  4
  5     Total (combine lines 1 through 4 of column (i)). Also report amount on Schedule E-1, line 6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                                       CPCA8701L        08/31/20                                                          Schedule E (Form 5471) (Rev. 12-2020)
                                                                   Case 8-22-70838-ast                                    Doc 2              Filed 04/25/22                        Entered 04/25/22 10:51:41


Schedule E (Form 5471) (Rev. 12-2020)                   MEMORY LANE MUSIC GROUP, LLC                                                                                                                                                                              XX-XXXXXXX                             Page 2
  Part II          Election
For tax years beginning after December 31, 2004, has an election been made under section 986(a)(1)(D) to translate taxes using the exchange rate on the date of payment?
              Yes       X No     If "Yes," state date of election G
  Part III         Taxes for Which a Foreign Tax Credit Is Disallowed (Enter in functional currency of foreign corporation.)
                                                                                     (b)                                                                                                                                              (g)
                                   (a)                                        EIN or Reference                      (c)                         (d)                           (e)                          (f)                                                       (h)                          (i)
                                                                                                                                                                                                                               Taxes Related to
                           Name of Payor Entity                                ID Number of                   Section 901 (j)          Section 901(k) and (l)           Section 901(m)                 U.S. Taxes                                                   Other                        Total
                                                                                                                                                                                                                             Section 959(c)(3) E&P
                                                                                Payor Entity

  1
  2
  3     In functional currency (combine lines 1 and 2). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
  4     In U.S. dollars (translated at the average exchange rate, as defined in section 989(b)(3) and related regulations (see instructions)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
Schedule E-1                       Taxes Paid, Accrued, or Deemed Paid on Earnings and Profits (E&P) of Foreign Corporation
                                                                                                                                                                                                                   Taxes related to:
                                                                                                                                                                  (a)                                        (b)                                      (c)                                     (d)
  IMPORTANT: Enter amounts in                                                                                                                                Current E & P                                                                      Pre-1987 E&P
                                                                                                                                                                                                         Post-1986                                                                    Hovering Deficit and
   U.S. dollars unless otherwise noted                                                                                                                                                             Undistributed Earnings                   Not Previously Taxed                          Suspended
  (see instructions).                                                                                                                                                                            (post-1986 and pre-2018
                                                                                                                                                                                                                                                  (pre-1987
                                                                                                                                                                                                                                                                                             Taxes
                                                                                                                                                                                                                                         section 959(c)(3) balance)
                                                                                                                                                                                                 section 959(c)(3) balance)                (in functional currency)


  1a Balance at beginning of year (as reported in prior year Schedule E-1). . . . . . . . . . . . . . .
   b Beginning balance adjustments (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   c Adjusted beginning balance (combine lines 1a and 1b). . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  2 Adjustment for foreign tax redetermination . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  3a Taxes unsuspended under anti-splitter rules. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   b Taxes suspended under anti-splitter rules . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  4 Taxes reported on Schedule E, Part I, Section 1, line 5, column (k). . . . . . . . . . . . . . . . .
  5a Taxes carried over in nonrecognition transactions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   b Taxes reclassified as related to hovering deficit after nonrecognition transaction . . . . .
  6 Taxes reported on Schedule E, Part I, Section 2, line 5, column (i). . . . . . . . . . . . . . . . . .
  7 Other adjustments (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  8 Taxes paid or accrued on current income/E&P or accumulated E&P (combine lines 1c through 7). . . . . . . . .
  9 Taxes deemed paid with respect to inclusions under section 951(a)(1) (see instructions)
 10     Taxes deemed paid with respect to inclusions under section 951A (see instructions)
 11     Taxes deemed paid with respect to actual distributions. . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 12     Taxes on amounts reclassified to section 959(c)(1) E&P from section 959(c)(2) E&P .
 13     Other(attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 14     Taxes related to hovering deficit offset of undistributed post-transaction E&P. . . . . . . .
 15     Balance of taxes paid or accrued (combine lines 8 through 14 in column (a)) . . . . . . . .
 16     Reduction for tested income taxes not deemed paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 17     Reduction for other taxes not deemed paid .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 18     Balance of taxes paid or accrued at the beginning of the next year. Line 18, column
        (a), must always equal zero. So, if necessary, enter negative amounts on lines 16
        and 17 of column (a) in amounts sufficient to reduce line 15, column (a), to zero. For
        the remaining columns, combine lines 8 through 14. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 BAA                                                                                                                                                                                                                                                  Schedule E (Form 5471) (Rev. 12-2020)
                                                                                                                                             CPCA8701L       11/20/20
                                                       Case 8-22-70838-ast             Doc 2      Filed 04/25/22                Entered 04/25/22 10:51:41


Schedule E (Form 5471) (Rev. 12-2020) MEMORY LANE MUSIC GROUP, LLC                                                                   XX-XXXXXXX                                                      Page 3
Schedule E-1                 Taxes Paid, Accrued, or Deemed Paid on Accumulated Earnings and Profits (E&P) of Foreign Corporation (continued)
                                                                           (e) Taxes related to previously taxed E&P (see instructions)
                   (i)                       (ii)              (iii)            (iv)                (v)                     (vi)              (vii)        (viii)             (ix)                (x)
              Reclassified              Reclassified         General        Reclassified        Reclassified             Section            Section       Section           Section            Section
                section                   section            section          section             section              965(a) PTEP        965(b) PTEP   951A PTEP        245A(d) PTEP     951(a)(1)(A) PTEP
              965(a) PTEP               965(b) PTEP       959(c)(1) PTEP    951A PTEP          245A(d) PTEP

  1a
   b
   c
  2
  3a
   b
  4
  5a
   b
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 BAA                                                                                                                                                                Schedule E (Form 5471) (Rev. 12-2020)




                                                                                                  CPCA8701L 11/20/20
                              Case 8-22-70838-ast                                         Doc 2                Filed 04/25/22                            Entered 04/25/22 10:51:41


SCHEDULE H                                                                            Current Earnings and Profits
(Form 5471)
(Rev. December 2020)                                                                                                                                                                                               OMB No. 1545-0123
                                                                                  A Attach to Form 5471.
Department of the Treasury                                A Go to www.irs.gov/Form5471 for instructions and the latest information.
Internal Revenue Service

Name of person filing Form 5471                                                                                                                                                               Identifying number

MEMORY LANE MUSIC GROUP, LLC                                                                                                                                                                  XX-XXXXXXX
Name of foreign corporation                                                                                                   EIN (if any)                                                    Reference ID number (see instructions)

MEMORY LANE MUSIC LTD                                                                                                         FOREIGNUS                                                       MEMORYLANEMUSICLTD
IMPORTANT: Enter the amounts on lines 1 through 5c in functional currency.
   1       Current year net income or (loss) per foreign books of account. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               1             -14,279.
   2       Net adjustments made to line 1 to determine current
           earnings and profits according to U.S. financial and tax
           accounting standards (see instructions):                                                                                      Net Additions                      Net Subtractions
       a   Capital gains or losses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    2a
       b   Depreciation and amortization. . . . . . . . . . . . . . . . . . . . . . . . . . . .                            2b
       c   Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         2c
       d   Investment or incentive allowance. . . . . . . . . . . . . . . . . . . . . . . .                                2d
       e   Charges to statutory reserves . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           2e
       f   Inventory adjustments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     2f
       g   Income taxes (see Schedule E, Part I, Section 1, line 6,
           column (l), and Part III, line 3, column (i) . . . . . . . . . . . . . . . . .                                  2g
       h   Foreign currency gains or losses . . . . . . . . . . . . . . . . . . . . . . . . .                              2h
       i   Other (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       2i
   3       Total net additions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 3
   4       Total net subtractions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   4
   5a      Current earnings and profits (line 1 plus line 3 minus line 4) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          5a            -14,279.
    b      DASTM gain or (loss) for foreign corporations that use DASTM (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . .                                                                5b
    c      Combine lines 5a and 5b and enter the result on line 5c. Then enter on lines 5c(i), 5c(ii), and 5c(iii)(A)
           through 5c(iii)(C) the portion of the line 5c amount with respect to the categories of income shown
           on those lines. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   5c            -14,279.
           (i) General category (enter amount on applicable Schedule J, Part I,
               line 3, column (a)). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   5c(i)
           (ii) Passive category (enter amount on applicable Schedule J, Part I,
                 line 3, column (a)). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                5c(ii)
           (iii) Section 901(j) category:
                 (A) Enter the country code of the sanctioned country A
                     and enter the line 5c amount with respect to the sanctioned
                     country on this line 5c(iii)(A) and on the applicable Schedule J,
                     Part I, line 3, column (a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     5c(iii)(A)
                 (B) Enter the country code of the sanctioned country A
                     and enter the line 5c amount with respect to the sanctioned
                     country on this line 5c(iii)(B) and on the applicable Schedule J,
                     Part I, line 3, column (a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     5c(iii)(B)
                 (C) Enter the country code of the sanctioned country A
                         and enter the line 5c amount with respect to the sanctioned
                         country on this line 5c(iii)(C) and on the applicable Schedule J,
                         Part I, line 3, column (a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 5c(iii)(C)
       d   Current earnings and profits in U.S. dollars (line 5c translated at the average exchange rate, as defined in
           section 989(b)(3) and the related regulations (see instructions)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             5d            -14,279.
       e   Enter exchange rate used for line 5d . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A 1
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                                                              Schedule H (Form 5471) (Rev. 12-2020)




                                                                                                              CPCA8702L          08/27/20
                              Case 8-22-70838-ast                                      Doc 2               Filed 04/25/22               Entered 04/25/22 10:51:41


SCHEDULE I-1
(Form 5471)                                           Information for Global Intangible Low-Taxed Income
(Rev. December 2019)                                                                                                                                                               OMB No. 1545-0704

Department of the Treasury
                                                                                    A Attach to Form 5471.
Internal Revenue Service                                  A Go to www.irs.gov/Form5471 for instructions and the latest information.
Name of person filing Form 5471                                                                                                                               Identifying number

MEMORY LANE MUSIC GROUP, LLC                                                                                                                                   XX-XXXXXXX
Name of foreign corporation                                                                                              EIN (if any)                         Reference ID number (see instructions)

MEMORY LANE MUSIC LTD                                                                                                    FOREIGNUS                             MEMORYLANEMUSICLTD
                                                                                                                                                                       GEN
            Separate Category (Enter code'see instructions.). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A
                                                                                                                                        Functional              Conversion
                                                                                                                                                                                         U.S. Dollars
                                                                                                                                         Currency                 Rate

   1        Gross income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   1
   2        Exclusions
     a      Effectively connected income . . . . . . . . . . . .                      2a
     b      Subpart F income . . . . . . . . . . . . . . . . . . . . . . .            2b
     c      High-tax exception income per section
            954(b)(4) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2c
     d      Related party dividends. . . . . . . . . . . . . . . . . .                2d
     e      Foreign oil and gas extraction income . . . .                             2e
   3        Total exclusions (total of lines 2a'2e) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       3
   4        Gross income less total exclusions (line 1 minus line 3). . . . . . . . . . . .                                       4
   5        Deductions properly allocable to amount on line 4. . . . . . . . . . . . . . . . .                                    5
   6        Tested income (loss) (line 4 minus line 5). . . . . . . . . . . . . . . . . . . . . . . . .                           6
   7        Tested foreign income taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 7
   8        Qualified business asset investment (QBAI). . . . . . . . . . . . . . . . . . . . . . .                               8
   9a       Interest expense included on line 5. . . . . . . 9a
    b       Qualified interest expense . . . . . . . . . . . . . . . 9b
    c       Tested loss QBAI amount. . . . . . . . . . . . . . . . 9c
    d       Tested interest expense (line 9a minus the sum of line 9b and line
            9c). If zero or less, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             9d
 10a Interest income included in line 4. . . . . . . . . 10a
   b Qualified interest income . . . . . . . . . . . . . . . . 10b
   c Tested interest income (line 10a minus line 10b). If zero or less,
     enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     10c
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                               Schedule I-1 (Form 5471) (Rev. 12-2019)




                                                                                                          CPCA8704L         09/30/19
                                                                    Case 8-22-70838-ast                               Doc 2              Filed 04/25/22                       Entered 04/25/22 10:51:41


SCHEDULE J
                                                                 Accumulated Earnings & Profits (E&P) of Controlled Foreign Corporation
(Form 5471)
                                                                                                                                                                                                                                                                    OMB No. 1545-0123
(Rev. December 2020)                                                                                                              G Attach to Form 5471.
Department of the Treasury                                                                   G Go to www.irs.gov/Form5471 for instructions and the latest information.
Internal Revenue Service
Name of person filing Form 5471                                                                                                                                                                                                                     Identifying number

MEMORY LANE MUSIC GROUP, LLC                                                                                                                                                                                                                        XX-XXXXXXX
Name of foreign corporation                                                                                                                                                                  EIN (if any)                                           Reference ID number ( see instructions)

MEMORY LANE MUSIC LTD                                                                                                                                                                        FOREIGNUS                                              MEMORYLANEMUSICLTD
                                                                                                                                                                                                                                                       G GEN
   a Separate Category (Enter code—see instructions.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   b If code 901j is entered on line a, enter the country code for the sanctioned country (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    G
 Part I              Accumulated E&P of Controlled Foreign Corporation
        Check the box if person filing return does not have all U.S. shareholders' information to complete an amount in column (e) (see instructions).
                                                                                                                     (a)                             (b)                               (c)                              (d)                       (e) Previously Taxed E&P (see instructions)
Important: Enter amounts in functional currency.
                                                                                                             Post-2017 E&P Not                   Post-1986                    Pre-1987 E&P Not                Hovering Deficit and
                                                                                                              Previously Taxed            Undistributed Earnings              Previously Taxed                   Deduction for                (i) Reclassified section   (ii) Reclassified section
                                                                                                             (post-2017 section          (post-1986 and pre-2018              (pre-1987 section                Suspended Taxes                     965(a) PTEP                 965(b) PTEP
                                                                                                             959(c)(3) balance)         section 959(c)(3) balance)            959(c)(3) balance)

  1a Balance at beginning of year (as reported on prior year
     Schedule J) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           -30,337.
   b Beginning balance adjustments (attach stmt) . . . . . . . . . . . . .
   c Adjusted beginning balance (combine lines 1a and 1b). . . .                                                                                   -30,337.
  2a Reduction for taxes unsuspended under anti-splitter rules .
   b Disallowed deduction for taxes suspended under
     anti-splitter rules . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  3 Current year E&P (or deficit in E&P) (enter amount
     from applicable line 5c of Schedule H) . . . . . . . . . . . . . . . . . . .
  4 E&P attributable to distributions of previously taxed E&P
     from lower-tier foreign corporation . . . . . . . . . . . . . . . . . . . . . . .
  5a E&P carried over in nonrecognition transaction . . . . . . . . . . .
   b Reclassify deficit in E&P as hovering deficit after
     nonrecognition transaction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  6 Other adjustments (attach statement). . . . . . . . . . . . . . . . . . . .
  7 Total current and accumulated E&P (combine lines 1c
     through 6). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         -30,337.
  8 Amounts reclassified to section 959(c)(2) E&P from
     section 959(c)(3) E&P. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  9 Actual distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 10 Amounts reclassified to section 959(c)(1) E&P from
     section 959(c)(2) E&P. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 11 Amounts included as earnings invested in U.S. property
     and reclassified to section 959(c)(1) E&P (see instructions)
 12 Other adjustments (attach statement). . . . . . . . . . . . . . . . . . . .
 13 Hovering deficit offset of undistributed post-transaction
     E&P (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 14 Balance at beginning of next year (combine lines 7 through 13). . . . . . . . .                                                                -30,337.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 5471.                                                                                         CPCA8705L 08/27/20                                                          Schedule J (Form 5471) (Rev. 12-2020)
                                                  Case 8-22-70838-ast                   Doc 2            Filed 04/25/22                Entered 04/25/22 10:51:41


Schedule J (Form 5471) (Rev. 12-2020)                                                                                                                                                                                         Page   2
 Part I      Accumulated E&P of Controlled Foreign Corporation (continued)
                                                                                                 (e) Previously Taxed E&P (see instructions)


           (iii) General section 959(c)(1) PTEP       (iv) Reclassified section 951A PTEP             (v) Reclassified section 245A(d) PTEP                 (vi) Section 965(a) PTEP              (vii) Section 965(b) PTEP


  1a
   b
   c
  2a
   b
  3
  4
  5a
   b
  6
  7
  8
  9
 10
 11
 12
 13
 14
                                                                     (e) Previously Taxed E&P (see instructions)                                                                                           (f)
                                                                                                                                                                                              Total Section 964(a) E&P
                      (viii) Section 951A PTEP                               (ix) Section 245A(d) PTEP                                     (x) Section 951(a)(1)(A) PTEP                    (combine columns (a), (b), (c),
                                                                                                                                                                                               and (e)(i) through (e)(x))

  1a                                                                                                                                                                                                                  -30,337.
   b
   c                                                                                                                                                                                                                  -30,337.
  2a
   b
  3
  4
  5a
   b
  6
  7                                                                                                                                                                                                                   -30,337.
  8
  9
 10
 11
 12
 13
 14                                                                                                                                                                                                                   -30,337.
BAA                                                                                                      CPCA8705L 12/08/20                                                            Schedule J (Form 5471) (Rev. 12-2020)
                                                                   Case 8-22-70838-ast                                       Doc 2               Filed 04/25/22                           Entered 04/25/22 10:51:41


Schedule J (Form 5471) (Rev. 12-2020)                                                                                                                                                                                                                                                     Page   3
 Part II          Nonpreviously Taxed E&P Subject to Recapture as Subpart F Income (section 952(c)(2))
Important: Enter amounts in functional currency.
  1   Balance at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   G   1

  2   Additions (amounts subject to future recapture). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   G   2

  3   Subtractions (amounts recaptured in current year) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      G   3

  4   Balance at end of year (combine lines 1 through 3) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       G   4
BAA                                                                                                                                                                                                                                                        Schedule J (Form 5471) (Rev. 12-2020)




                                                                                                                                                 CPCA8705L 08/27/20
                       Case 8-22-70838-ast               Doc 2        Filed 04/25/22           Entered 04/25/22 10:51:41


SCHEDULE M                        Transactions Between Controlled Foreign Corporation
(Form 5471)
(Rev. December 2018)
                                       and Shareholders or Other Related Persons                                                                OMB No. 1545-0123
 Department of the Treasury
                                                           G Attach to Form 5471.
Internal Revenue Service            G Go to www.irs.gov/Form5471 for instructions and the latest information.
Name of person filing Form 5471                                                                                                  Identifying number

MEMORY LANE MUSIC GROUP, LLC                                                                                                     XX-XXXXXXX
Name of foreign corporation                                                                EIN (if any)                          Reference ID number (see instructions)
MEMORY LANE MUSIC LTD                                                                     FOREIGN US                             MEMORYLANEMUSICLTD
Important: Complete a separate Schedule M for each controlled foreign corporation. Enter the totals for each type of transaction that occurred
during the annual accounting period between the foreign corporation and the persons listed in columns (b) through (f). All amounts must be
stated in U.S. dollars translated from functional currency at the average exchange rate for the foreign corporation's tax year. See instructions.
Enter the relevant functional currency and the exchange rate used throughout this schedule G    GBP 1
              (a) Transactions      (b) U.S. person         (c) Any domestic       (d) Any other foreign          (e) 10% or more U.S.         (f) 10% or more U.S.
                     of             filing this return        corporation or           corporation or           shareholder of controlled        shareholder of any
            foreign corporation                           partnership controlled   partnership controlled           foreign corporation              corporation
                                                           by U.S. person filing    by U.S. person filing      (other than the U.S. person         controlling the
                                                                this return              this return                 filing this return)         foreign corporation
  1    Sales of stock in
       trade (inventory) . . . . . . . .
  2    Sales of tangible property
       other than stock in trade. . .
  3    Sales of property rights
       (patents, trademarks, etc.) . .
  4    Platform contribution trans-
       action payments received . .
  5    Cost sharing transaction
       payments received. . . . . . .
  6    Compensation received for
       technical, managerial,
       engineering, construction,
       or like services . . . . . . . . .
  7    Commissions received . . . .
  8    Rents, royalties, and license
       fees received. . . . . . . . . . .
  9    Hybrid dividends received
       (see instructions). . . . . . . .
 10    Dividends received (exclude
       hybrid dividends, deemed
       distributions under subpart
       F, and distributions of
       previously taxed income) . .
 11    Interest received . . . . . . . .
 12    Premiums received for
       insurance or reinsurance . .
 13    Add lines 1 through 12. . . .              0.                      0.                              0.                          0.                            0.
 14    Purchases of stock in
       trade (inventory) . . . . . . . .
 15    Purchases of tangible
       property other than stock
       in trade. . . . . . . . . . . . . . .
 16    Purchases of property rights
       (patents, trademarks, etc.) . .
 17    Platform contribution trans-
       action payments paid. . . . .
 18    Cost sharing transaction
       payments paid. . . . . . . . . .
 19    Compensation paid for
       technical, managerial,
       engineering, construction,
       or like services . . . . . . . . .
 20    Commissions paid . . . . . . .
 21    Rents, royalties, and license
       fees paid. . . . . . . . . . . . . .
 22    Hybrid dividends paid
       (see instructions). . . . . . . . .
 23    Dividends paid (exclude
       hybrid dividends paid) . . . . .
 24    Interest paid . . . . . . . . . . .
 25    Premiums paid for insurance
       or reinsurance. . . . . . . . . .
 26    Add lines 14 through 25 . . .              0.                      0.                              0.                          0.                            0.
 27    Accounts Payable. . . . . . . .
 28    Amounts borrowed (enter
       the maximum loan balance
       during the year) ' see instr.
 29    Accounts Receivable. . . . . .
 30    Amounts loaned (enter the
       maximum loan balance
       during the year) ' see instr.         43,831.
BAA    For Paperwork Reduction Act Notice, see the Instructions for Form 5471.           CPCA8706L 12/12/18         Schedule M (Form 5471) (Rev. 12-2018)
                       Case 8-22-70838-ast                 Doc 2        Filed 04/25/22                  Entered 04/25/22 10:51:41


SCHEDULE O                                 Organization or Reorganization of Foreign
(Form 5471)                                   Corporation, and Acquisitions and
                                                                                                                                                            OMB No. 1545-0704
(Rev December 2012)                                Dispositions of its Stock
Department of the Treasury
                                  G Information about Schedule O (Form 5471) and its instructions is at www.irs.gov/form5471.
Internal Revenue Service                                             G Attach to Form 5471.
Name of person filing Form 5471                                                                                                                         Identifying number

MEMORY LANE MUSIC GROUP, LLC                                                                                                                            XX-XXXXXXX
Name of foreign corporation                                                                                           EIN (if any)                      Reference ID No. (see insts)

MEMORY LANE MUSIC LTD                                                                                                 FOREIGN US                        SEE STMT 17
Important: Complete a separate Schedule O for each foreign corporation for which information must be reported.

Part I       To Be Completed by U.S. Officers and Directors
                    (a)                                                (b)                                                   (c)                      (d)                    (e)
    Name of shareholder for whom                              Address of shareholder                                 Identifying number         Date of original      Date of additional
   acquisition information is reported                                                                                 of shareholder           10% acquisition        10% acquisition

                        PO BOX 254
MEMORY LANE MUSIC GROUP PORT WASHINGTON, , NY 11050                                                              XX-XXXXXXX




Part II To Be Completed by U.S. Shareholders
             Note: If this return is required because one or more shareholders became U.S. persons, attach a list showing the names of such
             persons and the date each became a U.S. person.
                                                  Section A ' General Shareholder Information
                                                                                                                 (b)                                                      (c)
                                    (a)                                            For shareholder's latest U.S. income tax return filed, indicate:                  Date (if any)
                 Name, address, and identifying number of                                                                                                        shareholder last filed
                    shareholder(s) filing this schedule                                (1)                     (2)                        (3)                  information return under
                                                                               Type of return (enter     Date return filed     Internal Revenue Service           section 6046 for the
                                                                                  form number)                                    Center where filed              foreign corporation




                         Section B ' U.S. Persons Who Are Officers or Directors of the Foreign Corporation
                                                                                                                                                                          (d)
                         (a)                                                           (b)                                                    (c)                   Check appro-
            Name of U.S. officer or director                                         Address                                            Social security             priate box(es)
                                                                                                                                           number
                                                                                                                                                                   Officer Director




                                                           Section C ' Acquisition of Stock
                                                                                                                                                (e)
                             (a)                                       (b)          (c)                   (d)                        Number of shares acquired
           Name of shareholder(s) filing this schedule              Class of      Date of              Method of
                                                                     stock       acquisition           acquisition             (1)                  (2)                   (3)
                                                                    acquired                                                 Directly            Indirectly          Constructively




BAA For Paperwork Reduction Act Notice, see the Instructions for Form 5471.                     CPCA8789L       01/14/13      Schedule O (Form 5471) (Rev 12-2012)
                                                                 Case 8-22-70838-ast                                  Doc 2              Filed 04/25/22                        Entered 04/25/22 10:51:41


SCHEDULE P
(Form 5471)                                     Previously Taxed Earnings and Profits of U.S. Shareholder of Certain Foreign Corporations
(Rev. December 2020)                                                                                                                                                                                                                                               OMB No. 1545-0123
                                                                                                                G Attach to Form 5471.
Department of the Treasury                                                               G Go to www.irs.gov/Form5471 for instructions and the latest information.
Internal Revenue Service
Name of person filing Form 5471                                                                                                                                                                                                                      Identifying number

MEMORY LANE MUSIC GROUP, LLC                                                                                                                                                                                                                         XX-XXXXXXX
Name of U.S. shareholder                                                                                                                                                                                                                             Identifying number


Name of foreign corporation                                                                                                                                                                EIN (if any)                                              Reference ID number ( see instructions)

MEMORY LANE MUSIC LTD                                                                                                                                                                      FOREIGNUS     MEMORYLANEMUSICLTD
      a                                                                                                                                                                                                           G GEN
          Separate Category (Enter code—see instructions.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
      bIf code 901j is entered on line a, enter the country code for the sanctioned country (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
Part I       Previously Taxed E&P in Functional Currency (see instructions)
                                                                                                                                                                                                                 (a)                                  (b)                       (c)
                                                                                                                                                                                                       Reclassified section                 Reclassified section          General section
                                                                                                                                                                                                          965(a) PTEP                          965(b) PTEP                959(c)(1) PTEP



  1a       Balance at beginning of year (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

      b    Beginning balance adjustments (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

      c    Adjusted beginning balance (combine lines 1a and 1b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  2        Reduction for taxes unsuspended under anti-splitter rules. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  3        Previously taxed E&P attributable to distributions of previously taxed E&P from lower-tier foreign corporation . . . .


  4        Previously taxed E&P carried over in nonrecognition transaction. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


  5        Other adjustments (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  6        Total previously taxed E&P (combine lines 1c through 5). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  7        Amounts reclassified to section 959(c)(2) E&P from section 959(c)(3) E&P. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  8        Actual distributions of previously taxed E&P. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  9        Amounts reclassified to section 959(c)(1) E&P from section 959(c)(2) E&P. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 10        Amounts included as earnings invested in U.S. property and reclassified to section 959(c)(1) E&P (see instructions) .

 11        Other adjustments (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 12        Balance at beginning of next year (combine lines 6 through 11) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                               CPCA8703L 08/28/20                                                                      Schedule P (Form 5471) (Rev. 12-2020)
                                            Case 8-22-70838-ast                Doc 2      Filed 04/25/22                  Entered 04/25/22 10:51:41


                                MEMORY LANE MUSIC GROUP, LLC
Schedule P (Form 5471) (Rev. 12-2020)                                                                                                                                 XX-XXXXXXX           Page   2
Part I     Previously Taxed E&P in Functional Currency (see instructions) (continued)
                   (d)                    (e)                    (f)                     (g)                            (h)                (i)                 (j)                  (k)
           Reclassified section   Reclassified section   Section 965(a) PTEP     Section 965(b) PTEP                Section 951A     Section 245A(d)   Section 951(a)(1)(A)        Total
               951A PTEP            245A(d) PTEP                                                                       PTEP               PTEP                PTEP



  1a


      b

      c

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BAA                                                                                                                                                        Schedule P (Form 5471) (Rev. 12-2020)




                                                                                               CPCA8703L 08/28/20
                                                               Case 8-22-70838-ast                                   Doc 2              Filed 04/25/22                        Entered 04/25/22 10:51:41


Schedule P (Form 5471) (Rev. 12-2020)MEMORY LANE MUSIC GROUP, LLC                                                                                                                                                                     XX-XXXXXXX          Page   3
Part II          Previously Taxed E&P in U.S. Dollars
                                                                                                                                                                                                        (a)                    (b)                  (c)
                                                                                                                                                                                                Reclassified section   Reclassified section   General section
                                                                                                                                                                                                   965(a) PTEP            965(b) PTEP         959(c)(1) PTEP



  1a      Balance at beginning of year (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

      b   Beginning balance adjustments (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

      c   Adjusted beginning balance (combine lines 1a and 1b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  2       Reduction for taxes unsuspended under anti-splitter rules. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  3       Previously taxed E&P attributable to distributions of previously taxed E&P from lower-tier foreign corporation . . . .


  4       Previously taxed E&P carried over in nonrecognition transaction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


  5       Other adjustments (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  6       Total previously taxed E&P (combine lines 1c through 5). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  7       Amounts reclassified to section 959(c)(2) E&P from section 959(c)(3) E&P. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  8       Actual distributions of previously taxed E&P. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  9       Amounts reclassified to section 959(c)(1) E&P from section 959(c)(2) E&P. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 10       Amounts included as earnings invested in U.S. property and reclassified to section 959(c)(1) E&P (see instructions) .

 11       Other adjustments (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 12       Balance at beginning of next year (combine lines 6 through 11) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
BAA                                                                                                                                                                                                                       Schedule P (Form 5471) (Rev. 12-2020)




                                                                                                                                          CPCA8745L 12/08/20
                                            Case 8-22-70838-ast                Doc 2      Filed 04/25/22                  Entered 04/25/22 10:51:41


                                MEMORY LANE MUSIC GROUP, LLC
Schedule P (Form 5471) (Rev. 12-2020)                                                                                                                                 XX-XXXXXXX           Page   4
Part II    Previously Taxed E&P in U.S. Dollars (continued)
                   (d)                    (e)                    (f)                     (g)                            (h)                (i)                 (j)                  (k)
           Reclassified section   Reclassified section   Section 965(a) PTEP     Section 965(b) PTEP                Section 951A     Section 245A(d)   Section 951(a)(1)(A)        Total
               951A PTEP            245A(d) PTEP                                                                       PTEP               PTEP                PTEP



  1a


      b

      c

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BAA                                                                                                                                                        Schedule P (Form 5471) (Rev. 12-2020)




                                                                                               CPCA8745L 08/28/20
                        Case 8-22-70838-ast                                       Doc 2               Filed 04/25/22                           Entered 04/25/22 10:51:41



2020                                                                           FEDERAL STATEMENTS                                                                                                          PAGE 1
CLIENT MEMORYLN                                                              MEMORY LANE MUSIC GROUP, LLC                                                                                                 XX-XXXXXXX


  STATEMENT 1
  FORM 1065, LINE 7
  OTHER INCOME (LOSS)

  GAIN FROM LEGAL SETTLEMENT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                         200,000.
  INCOME FROM MLMG. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         2,128.
  INCOME FROM PASSTHROUGHS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       264,400.
  INCOME FROM PE LICENSING. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        12,152.
                                                                                                                                                                      TOTAL $                             478,680.



  STATEMENT 2
  FORM 1065, LINE 14
  TAXES AND LICENSES

  LICENSES AND PERMITS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                 957.
  STATE TAX . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           1,500.
                                                                                                                                                                                    TOTAL $                 2,457.



  STATEMENT 3
  FORM 1065, LINE 20
  OTHER DEDUCTIONS

  ACCOUNTING. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           2,488.
  ADMINISTRATIVE EXPENSE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   200,000.
  ADVERTISING . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 858.
  AMORTIZATION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                41,731.
  AUTO AND TRUCK EXPENSE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     1,315.
  BANK CHARGES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                10,228.
  CONSULTING EXPENSE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            31,250.
  DUES AND SUBSCRIPTIONS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    15,999.
  INSURANCE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           4,546.
  LABOR COSTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 652.
  LEGAL AND PROFESSIONAL. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    34,154.
  OFFICE EXPENSE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    13,501.
  POSTAGE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        719.
  STORAGE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      2,160.
  TELEPHONE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           2,557.
  TRAVEL. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       221.
  WEBSITE EXPENSE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       5,583.
                                                                                                                                                                                          TOTAL $         367,962.



  STATEMENT 4
  FORM 1065, SCHEDULE K, LINE 13D
  OTHER DEDUCTIONS

  PARTNER HEALTH INSURANCE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                       5,820.
                                                                                                                                                      TOTAL $                                               5,820.
                     Case 8-22-70838-ast                                Doc 2             Filed 04/25/22                      Entered 04/25/22 10:51:41



2020                                                                  FEDERAL STATEMENTS                                                                           PAGE 2
CLIENT MEMORYLN                                                     MEMORY LANE MUSIC GROUP, LLC                                                                  XX-XXXXXXX


  STATEMENT 5
  FORM 1065, SCHEDULE K, LINE 16R
  OTHER FOREIGN TAX INFORMATION

  GROSS RECEIPTS PER REG. 1.59A-7(E)(2) - CURRENT YEAR . . . . . . . . . . . . . . . . . . . . . . . . . . $                                                     949,151.
                                                                                             TOTAL $                                                             949,151.



  STATEMENT 6
  FORM 1065, SCHEDULE K, LINE 18C
  NONDEDUCTIBLE EXPENSES

  EXPENSES ON BOOKS NOT ON SCH. K (PERMANENT). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                     3,643.
                                                                                                               TOTAL $                                             3,643.



  STATEMENT 7
  FORM 1065, SCHEDULE L, LINE 6
  OTHER CURRENT ASSETS

                                                                                                                                                BEGINNING       ENDING
  LEGAL SETTLEMENT RECEIVABLE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                             65,963. $     65,963.
  LOAN WITH SCION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            0.        1,881.
  NOTES RECEIVABLE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        272,588.      273,489.
  UNCOLLECTABLE LEGAL JUDGEMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  -65,963.      -65,963.
                                                                                                                             TOTAL $               272,588. $    275,370.



  STATEMENT 8
  FORM 1065, SCHEDULE L, LINE 8
  OTHER INVESTMENTS

                                                                                                                                                BEGINNING       ENDING
  INVESTMENT IN MEMORY LANE LTD . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                159,322. $    203,153.
                                                                                                 TOTAL $                                           159,322. $    203,153.



  STATEMENT 9
  FORM 1065, SCHEDULE L, LINE 13
  OTHER ASSETS

                                                                                                                                                BEGINNING       ENDING
  SECURITY DEPOSITS RECEIVABLE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                               33,730. $     33,035.
                                                                                                   TOTAL $                                          33,730. $     33,035.
                       Case 8-22-70838-ast                                   Doc 2               Filed 04/25/22                         Entered 04/25/22 10:51:41



2020                                                                       FEDERAL STATEMENTS                                                                                                      PAGE 3
CLIENT MEMORYLN                                                          MEMORY LANE MUSIC GROUP, LLC                                                                                             XX-XXXXXXX


  STATEMENT 10
  FORM 1065, SCHEDULE L, LINE 17
  OTHER CURRENT LIABILITIES

                                                                                                                                                          BEGINNING                             ENDING
  CREDIT CARDS PAYABLE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                            3,324. $                               0.
  LEGAL RETAINER. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  5,000.                                 0.
  LOAN - ADAKEN . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.                             3,293.
  LOAN - PRINCESS LOLA. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  0.                             2,208.
  PAYABLE TO AFFILIATES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            2,329,362.                         1,324,216.
  ROYALTIES PAYABLE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      752,846.                           719,221.
                                                                                                                                 TOTAL $                     3,090,532. $                       2,048,938.



  STATEMENT 11
  FORM 1065, SCHEDULE L, LINE 20
  OTHER LIABILITIES

                                                                                                                                                          BEGINNING                             ENDING
  CAPITAL ONE LINE OF CREDIT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                         252,701. $                      252,701.
  LONG-TERM ROYALTIES PAYABLE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             408,319.                        408,319.
  ROYALTY ADVANCE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      49,208.                         30,783.
                                                                                                                             TOTAL $                              710,228. $                      691,803.



  STATEMENT 12
  FORM 1065, SCHEDULE M-1, LINE 4
  EXPENSES ON BOOKS NOT ON SCHEDULE K

  LIFE INSURANCE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           3,643.
                                                                                                                                                                          TOTAL $                   3,643.



  STATEMENT 13
  FORM 1125-A, LINE 5
  OTHER COSTS

  ROYALTY EXPENSE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           280,790.
                                                                                                                                                                        TOTAL $                   280,790.



  STATEMENT 14
  FORM 5471, PAGE 3, SCHEDULE C, LINE 17
  OTHER DEDUCTIONS

  ACCOUNTANCY . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      15,682.
  BANK CHARGES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           255.
  MANAGEMENT FEES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               1,670.
  PROFIT AND LOSS ON FOREIGN EXCHANGE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         873.
                                                                                                                    FUNCTIONAL CURRENCY TOTAL                                                      18,480.
                                                                                                                                               TRANSLATION RATE                                     0.7843
                                                                                                                                                                                TOTAL $            23,562.
                       Case 8-22-70838-ast                                    Doc 2               Filed 04/25/22                         Entered 04/25/22 10:51:41



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CLIENT MEMORYLN                                                           MEMORY LANE MUSIC GROUP, LLC                                                                       XX-XXXXXXX


  STATEMENT 15
  FORM 5471, PAGE 4, SCHEDULE F, LINE 16
  OTHER CURRENT LIABILITIES

                                                                                                                                                          BEGINNING       ENDING
  ACCRUALS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $            0. $       5,874.
  FOREIGN CURRENCY EXCHANGE DIFFERENCE. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   -603.            -3.
  PAYE PAYABLE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.         1,708.
                                                                                                                                         TOTAL $                -603. $       7,579.



  STATEMENT 16
  FORM 5471, PAGE 4, SCHEDULE F, LINE 19
  OTHER LIABILITIES

                                                                                                                                                          BEGINNING       ENDING
  VAT PAYABLE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $             19,053. $      17,037.
                                                                                                                                   TOTAL $                    19,053. $      17,037.



  STATEMENT 17
  FORM 5471, SCH O, FOREIGN INFO
  REFERENCE ID NUMBER

  MEMORYLANEMUSICLTD
                                     Case 8-22-70838-ast              Doc 2         Filed 04/25/22               Entered 04/25/22 10:51:41



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CLIENT MEMORYLN                                                      MEMORY LANE MUSIC GROUP, LLC                                                                                       XX-XXXXXXX


                                                                                                     PRIOR
                                                                             CUR     SPECIAL          179/        PRIOR   SALVAG
                                       DATE     DATE   COST/         BUS.    179      DEPR.         BONUS/       DEC. BAL /BASIS   DEPR.         PRIOR                                     CURRENT
  NO.            DESCRIPTION         ACQUIRED   SOLD   BASIS         PCT.   BONUS    ALLOW.        SP. DEPR.      DEPR.   REDUCT   BASIS         DEPR.         METHOD     LIFE   RATE       DEPR.

  FORM 1065
  ______________

   COMPUTER EQUIPMENT/SOFTWARE
   ___________________________

   11 COMPUTER                       8/06/08              1,848                                                                        1,848         1,848     200DB HY      5                       0
   12 COMPUTERS                      1/20/09              5,190                                                                        5,190         5,190     200DB HY      5                       0
   13 SOFTWARE                       3/24/09                   487                                                                         487           487    S/L HY       3                       0
   21 SOFTWARE **                    6/06/11                   563                                                                         563           563    S/L HY       3                       0
   30 COMPUTER EQUIPMENT **          6/03/12              1,108                                                                        1,108         1,108     200DB HY      5                       0
   31 COMPUTER EQUIPMENT **          6/13/12                   505                                                                         505           505   200DB HY      5                       0
   48 COMPUTER EQUIP **              1/04/13              2,792                                          1,396                         1,396         1,396     200DB HY      5                       0
   49 COMPUTER EQUIP **              1/24/13                   360                                        180                              180           180   200DB HY      5                       0
   50 COMPUTER EQUIP **              3/03/13              2,000                                          1,000                         1,000         1,000     200DB HY      5                       0
   55 COMPUTER EQUIP **              6/09/15              4,987                                          2,494                         2,493         2,012     200DB MQ      5   .04260          106
   58 COMPUTER EQUIP **              12/28/16             2,582                                          1,291                         1,291             875   200DB HY      5   .11520          149
   60 COMPUTER EQUIPMENT **          10/09/19             5,870                                          5,870                               0                 200DB MQ      5                       0


        TOTAL COMPUTER EQUIPMENT/S                       28,292                 0              0        12,231         0       0      16,061        15,164                                       255

   COMPUTER SOFTWARE
   _________________

   1 SOFTWARE                        10/26/06             1,185                                                                        1,185         1,185      S/L HY       3                       0
   2 SOFTWARE                        11/12/06             1,156                                                                        1,156         1,156      S/L HY       3                       0
   3 SOFTWARE                        11/17/06             2,687                                                                        2,687         2,687      S/L HY       3                       0
   16 SOFTWARE                       3/25/10                   489                                                                         489           489    S/L HY       3                       0
   17 SOFTWARE                       11/16/10             3,458                                                                        3,458         3,458      S/L HY       3                       0
   22 SOFTWARE **                    3/24/11                   516                                                                         516           516    S/L HY       3                       0
   23 SOFTWARE **                    5/18/11              1,786                                                                        1,786         1,786      S/L HY       3                       0
   24 SOFTWARE **                    8/10/11              1,633                                                                        1,633         1,587      S/L HY       3                       0
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CLIENT MEMORYLN                                                   MEMORY LANE MUSIC GROUP, LLC                                                                                       XX-XXXXXXX


                                                                                                  PRIOR
                                                                          CUR     SPECIAL          179/        PRIOR   SALVAG
                                    DATE     DATE   COST/         BUS.    179      DEPR.         BONUS/       DEC. BAL /BASIS   DEPR.         PRIOR                                     CURRENT
  NO.            DESCRIPTION      ACQUIRED   SOLD   BASIS         PCT.   BONUS    ALLOW.        SP. DEPR.      DEPR.   REDUCT   BASIS         DEPR.         METHOD     LIFE   RATE       DEPR.

  25 SOFTWARE **                  11/10/11              5,332                                                                       5,332         4,739      S/L HY       3                       0
  32 COMPUTER SOFTWARE **         3/25/12                   539                                                                         539           539    S/L HY       3                       0
  33 COMPUTER SOFTWARE **         10/31/12              1,584                                                                       1,584         1,408      S/L HY       3                       0
  40 COMPUTER SOFTWARE **         1/01/13               5,598                                         2,799                         2,799         2,799      S/L HY       3                       0
  41 COMPUTER SOFTWARE **         1/04/13               1,263                                          632                              631           631    S/L HY       3                       0
  42 COMPUTER SOFTWARE **         1/04/13               1,537                                          769                              768           768    S/L HY       3                       0
  43 COMPUTER SOFTWARE **         3/24/13                   576                                        288                              288           288    S/L HY       3                       0
  44 COMPUTER SOFTWARE **         7/31/13                   675                                        348                              327           327    S/L HY       3                       0
  45 COMPUTER SOFTWARE **         9/13/13               5,923                                         2,962                         2,961         2,961      S/L HY       3                       0
  46 COMPUTER SOFTWARE **         11/28/13              5,894                                         2,947                         2,947         2,947      S/L HY       3                       0
  47 COMPUTER SOFTWARE **         12/20/13              3,944                                         1,972                         1,972         1,844      S/L HY       3                       0
  51 SOFTWARE **                  1/28/14               3,269                                         1,635                         1,634         1,634     200DB MQ      3                       0
  52 SOFTWARE **                  4/30/14                   765                                        383                              382           382   200DB MQ      3                       0
  53 SOFTWARE **                  11/19/14              7,394                                         3,697                         3,697         3,697     200DB MQ      3                       0
  56 SOFTWARE **                  11/11/15              7,763                                         3,882                         3,881         2,695     200DB MQ      3                       0
  57 SOFTWARE **                  11/14/16              6,823                                         3,412                         3,411         3,411     200DB HY      3                       0
  59 SOFTWARE **                  1/02/18               7,164                                         7,164                               0                  S/L HY       3                       0
  61 SOFTWARE **                  1/18/19               7,522                                                                       7,522         2,194     S/L MQ        3   .33330         2,507
  62 SOFTWARE **                  3/07/19               3,398                                                                       3,398             991   S/L MQ        3   .33330         1,133
  63 SOFTWARE **                  11/08/19              7,899                                                                       7,899             329   S/L MQ        3   .33330         2,633


        TOTAL COMPUTER SOFTWARE                        97,772                0              0        32,890         0       0      64,882        47,448                                      6,273

   COPYRIGHTS OWNED
   ________________

   4 COPYRIGHTS-LSI               1/01/07             559,753                                                                     559,753       559,753         S/L       5                       0
   5 COPYRIGHTS-MLC               1/01/07              61,684                                                                      61,684        61,684         S/L       5                       0
  15 COPYRIGHTS-STILLMAN          2/11/10              50,000                                                                      50,000        50,000         S/L       5                       0
                                       Case 8-22-70838-ast                  Doc 2         Filed 04/25/22                 Entered 04/25/22 10:51:41



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CLIENT MEMORYLN                                                            MEMORY LANE MUSIC GROUP, LLC                                                                                    XX-XXXXXXX


                                                                                                           PRIOR
                                                                                   CUR     SPECIAL          179/          PRIOR   SALVAG
                                         DATE      DATE       COST/        BUS.    179      DEPR.         BONUS/         DEC. BAL /BASIS   DEPR.       PRIOR                                 CURRENT
  NO.            DESCRIPTION           ACQUIRED    SOLD       BASIS        PCT.   BONUS    ALLOW.        SP. DEPR.        DEPR.   REDUCT   BASIS       DEPR.       METHOD    LIFE   RATE      DEPR.

   34 COPYRIGHTS                       1/01/12                   11,682                                                                       11,682      10,220       S/L      8                      0
   35 COPYRIGHTS-2012                  12/31/17                 208,656                                                                      208,656      83,462       S/L      5                41,731
   64 COPYRIGHTS-STILLMAN REMAININ     7/24/08                    2,500                                                                        2,500       2,500       S/L      5                      0
   65 COPYRIGHTS-FRANK FOSTER REM      4/07/11                    5,000                                                                        5,000       5,000       S/L      5                      0


        TOTAL COPYRIGHTS OWNED                                  899,275               0              0               0         0       0     899,275     772,619                                 41,731



        TOTAL DEPRECIATION                                     1,025,339              0              0        45,121           0       0     980,218     835,231                                 48,259



        GRAND TOTAL DEPRECIATION                               1,025,339              0              0        45,121           0       0     980,218     835,231                                 48,259


  **ASSET INCLUDED IN UNADJUSTED BASIS IMMEDIATELY AFTER ACQUISITION FOR THE QBI CALCULATION.
                                     Case 8-22-70838-ast             Doc 2         Filed 04/25/22              Entered 04/25/22 10:51:41



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CLIENT MEMORYLN                                                  MEMORY LANE MUSIC GROUP, LLC                                                                                      XX-XXXXXXX

                                       DATE     DATE    AMT          AMT PRIOR      AMT        AMT    AMT        AMT           REG.          OWN     POST-86 REAL PROP LEAS PER    59 (E)(2)
  NO.            DESCRIPTION         ACQUIRED   SOLD   BASIS           DEPR.       METHOD      LIFE   RATE       DEPR.         DEPR.         PCT.   DEPR ADJ.  PREF.   PROP PREF   AMORT.

  FORM 1065
  ______________

   COMPUTER EQUIPMENT/SOFTWARE
   ___________________________

   11 COMPUTER                       8/06/08               1,848           1,848    150DB HY      5                        0             0                                                     0
   12 COMPUTERS                      1/20/09               5,190           5,190    150DB HY      5                        0             0                                                     0
   13 SOFTWARE                       3/24/09                   487                  S/L HY        3                        0             0                                                     0
   21 SOFTWARE                       6/06/11                   563           94     S/L HY        3                        0             0                                                     0
   30 COMPUTER EQUIPMENT             6/03/12               1,108           1,108    150DB HY      5                        0             0                                                     0
   31 COMPUTER EQUIPMENT             6/13/12                   505          505     150DB HY      5                        0             0                                                     0
   48 COMPUTER EQUIP                 1/04/13               1,396           1,117    200DB HY      5                        0             0                                                     0
   49 COMPUTER EQUIP                 1/24/13                   180          145     200DB HY      5                        0             0                                                     0
   50 COMPUTER EQUIP                 3/03/13               1,000            800     200DB HY      5                        0             0                                                     0
   55 COMPUTER EQUIP                 6/09/15               2,493           2,386    200DB MQ      5   .04260             107           106                -1                                   0
   58 COMPUTER EQUIP                 12/28/16              1,291            810     200DB HY      5   .11520             149           149                                                     0
   60 COMPUTER EQUIPMENT             10/09/19                    0                  200DB MQ      5                        0             0                                                     0


        TOTAL COMPUTER EQUIPMENT/S                        16,061          14,003                                         256           255                -1         0         0               0

   COMPUTER SOFTWARE
   _________________

   1 SOFTWARE                        10/26/06              1,185                    S/L HY        3                        0             0                                                     0
   2 SOFTWARE                        11/12/06              1,156                    S/L HY        3                        0             0                                                     0
   3 SOFTWARE                        11/17/06              2,687                    S/L HY        3                        0             0                                                     0
   16 SOFTWARE                       3/25/10                   489          204     S/L HY        3                        0             0                                                     0
   17 SOFTWARE                       11/16/10              3,458           2,209    S/L HY        3                        0             0                                                     0
   22 SOFTWARE                       3/24/11                   516           86     S/L HY        3                        0             0                                                     0
   23 SOFTWARE                       5/18/11               1,786            298     S/L HY        3                        0             0                                                     0
   24 SOFTWARE                       8/10/11               1,633            272     S/L HY        3                        0             0                                                     0
   25 SOFTWARE                       11/10/11              5,332            889     S/L HY        3                        0             0                                                     0
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CLIENT MEMORYLN                                                 MEMORY LANE MUSIC GROUP, LLC                                                                                  XX-XXXXXXX

                                      DATE     DATE    AMT          AMT PRIOR      AMT        AMT    AMT        AMT         REG.        OWN     POST-86 REAL PROP LEAS PER    59 (E)(2)
  NO.            DESCRIPTION        ACQUIRED   SOLD   BASIS           DEPR.       METHOD      LIFE   RATE       DEPR.       DEPR.       PCT.   DEPR ADJ.  PREF.   PROP PREF   AMORT.

  32 COMPUTER SOFTWARE              3/25/12                   539          270     S/L HY        3                      0           0                                                     0
  33 COMPUTER SOFTWARE              10/31/12              1,584            792     S/L HY        3                      0           0                                                     0
  40 COMPUTER SOFTWARE              1/01/13               2,799           2,333    S/L HY        3                      0           0                                                     0
  41 COMPUTER SOFTWARE              1/04/13                   631          525     S/L HY        3                      0           0                                                     0
  42 COMPUTER SOFTWARE              1/04/13                   768          640     S/L HY        3                      0           0                                                     0
  43 COMPUTER SOFTWARE              3/24/13                   288          240     S/L HY        3                      0           0                                                     0
  44 COMPUTER SOFTWARE              7/31/13                   327          280     S/L HY        3                      0           0                                                     0
  45 COMPUTER SOFTWARE              9/13/13               2,961           2,468    S/L HY        3                      0           0                                                     0
  46 COMPUTER SOFTWARE              11/28/13              2,947           2,455    S/L HY        3                      0           0                                                     0
  47 COMPUTER SOFTWARE              12/20/13              1,972           1,643    S/L HY        3                      0           0                                                     0
  51 SOFTWARE                       1/28/14               1,634           1,634    200DB MQ      3                      0           0                                                     0
  52 SOFTWARE                       4/30/14                   382          382     200DB MQ      3                      0           0                                                     0
  53 SOFTWARE                       11/19/14              3,697           3,697    200DB MQ      3                      0           0                                                     0
  56 SOFTWARE                       11/11/15              3,881           3,881    200DB MQ      3                      0           0                                                     0
  57 SOFTWARE                       11/14/16              3,411           2,274    200DB HY      3                      0           0                                                     0
  59 SOFTWARE                       1/02/18                     0                  S/L HY        3                      0           0                                                     0
  61 SOFTWARE                       1/18/19               7,522           2,194    S/L MQ        3   .33330         2,507       2,507                                                     0
  62 SOFTWARE                       3/07/19               3,398            991     S/L MQ        3   .33330         1,133       1,133                                                     0
  63 SOFTWARE                       11/08/19              7,899            329     S/L MQ        3   .33330         2,633       2,633                                                     0


        TOTAL COMPUTER SOFTWARE                          64,882          30,986                                     6,273       6,273                 0         0         0               0

   COPYRIGHTS OWNED
   ________________

  64 COPYRIGHTS-STILLMAN REMAININ   7/24/08               2,500           2,500                                         0           0                                                     0
  65 COPYRIGHTS-FRANK FOSTER REM    4/07/11               5,000           4,750                                         0           0                                                     0


        TOTAL COPYRIGHTS OWNED                            7,500           7,250                                         0           0                 0         0         0               0



        TOTAL DEPRECIATION                               88,443          52,239                                     6,529       6,528                -1         0         0               0
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CLIENT MEMORYLN                                              MEMORY LANE MUSIC GROUP, LLC                                                                             XX-XXXXXXX

                                     DATE     DATE    AMT        AMT PRIOR      AMT     AMT    AMT      AMT         REG.        OWN     POST-86 REAL PROP LEAS PER    59 (E)(2)
  NO.            DESCRIPTION       ACQUIRED   SOLD   BASIS         DEPR.       METHOD   LIFE   RATE     DEPR.       DEPR.       PCT.   DEPR ADJ.  PREF.   PROP PREF   AMORT.



        GRAND TOTAL DEPRECIATION                        88,443        52,239                                6,529       6,528                -1         0         0               0
                                     Case 8-22-70838-ast              Doc 2         Filed 04/25/22               Entered 04/25/22 10:51:41



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CLIENT MEMORYLN                                                      MEMORY LANE MUSIC GROUP, LLC                                                                                       XX-XXXXXXX


                                                                                                     PRIOR
                                                                             CUR     SPECIAL          179/        PRIOR   SALVAG
                                       DATE     DATE   COST/         BUS.    179      DEPR.         BONUS/       DEC. BAL /BASIS   DEPR.         PRIOR                                     CURRENT
  NO.            DESCRIPTION         ACQUIRED   SOLD   BASIS         PCT.   BONUS    ALLOW.        SP. DEPR.      DEPR.   REDUCT   BASIS         DEPR.         METHOD     LIFE   RATE       DEPR.

  FORM 1065
  ______________

   COMPUTER EQUIPMENT/SOFTWARE
   ___________________________

   11 COMPUTER                       8/06/08              1,848                                                                        1,848         1,848     200DB HY      5                        0
   12 COMPUTERS                      1/20/09              5,190                                                                        5,190         5,190     200DB HY      5                        0
   13 SOFTWARE                       3/24/09                   487                                                                         487           487    S/L HY       3                        0
   21 SOFTWARE                       6/06/11                   563                                                                         563           563    S/L HY       3                        0
   30 COMPUTER EQUIPMENT             6/03/12              1,108                                                                        1,108         1,108     200DB HY      5                        0
   31 COMPUTER EQUIPMENT             6/13/12                   505                                                                         505           505   200DB HY      5                        0
   48 COMPUTER EQUIP                 1/04/13              2,792                                          1,396                         1,396         1,396     200DB HY      5                        0
   49 COMPUTER EQUIP                 1/24/13                   360                                        180                              180           180   200DB HY      5                        0
   50 COMPUTER EQUIP                 3/03/13              2,000                                          1,000                         1,000         1,000     200DB HY      5                        0
   55 COMPUTER EQUIP                 6/09/15              4,987                                          2,494                         2,493         2,118     200DB MQ      5                        0
   58 COMPUTER EQUIP                 12/28/16             2,582                                          1,291                         1,291         1,024     200DB HY      5   .05760              74
   60 COMPUTER EQUIPMENT             10/09/19             5,870                                          5,870                               0                 200DB MQ      5                        0


        TOTAL COMPUTER EQUIPMENT/S                       28,292                 0              0        12,231         0       0      16,061        15,419                                           74

   COMPUTER SOFTWARE
   _________________

   1 SOFTWARE                        10/26/06             1,185                                                                        1,185         1,185      S/L HY       3                        0
   2 SOFTWARE                        11/12/06             1,156                                                                        1,156         1,156      S/L HY       3                        0
   3 SOFTWARE                        11/17/06             2,687                                                                        2,687         2,687      S/L HY       3                        0
   16 SOFTWARE                       3/25/10                   489                                                                         489           489    S/L HY       3                        0
   17 SOFTWARE                       11/16/10             3,458                                                                        3,458         3,458      S/L HY       3                        0
   22 SOFTWARE                       3/24/11                   516                                                                         516           516    S/L HY       3                        0
   23 SOFTWARE                       5/18/11              1,786                                                                        1,786         1,786      S/L HY       3                        0
   24 SOFTWARE                       8/10/11              1,633                                                                        1,633         1,587      S/L HY       3                        0
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12/31/21                                        2021 FEDERAL DEPRECIATION SCHEDULE                                                                                                     PAGE 2
CLIENT MEMORYLN                                                   MEMORY LANE MUSIC GROUP, LLC                                                                                       XX-XXXXXXX


                                                                                                  PRIOR
                                                                          CUR     SPECIAL          179/        PRIOR   SALVAG
                                    DATE     DATE   COST/         BUS.    179      DEPR.         BONUS/       DEC. BAL /BASIS   DEPR.         PRIOR                                     CURRENT
  NO.            DESCRIPTION      ACQUIRED   SOLD   BASIS         PCT.   BONUS    ALLOW.        SP. DEPR.      DEPR.   REDUCT   BASIS         DEPR.         METHOD     LIFE   RATE       DEPR.

  25 SOFTWARE                     11/10/11              5,332                                                                       5,332         4,739      S/L HY       3                       0
  32 COMPUTER SOFTWARE            3/25/12                   539                                                                         539           539    S/L HY       3                       0
  33 COMPUTER SOFTWARE            10/31/12              1,584                                                                       1,584         1,408      S/L HY       3                       0
  40 COMPUTER SOFTWARE            1/01/13               5,598                                         2,799                         2,799         2,799      S/L HY       3                       0
  41 COMPUTER SOFTWARE            1/04/13               1,263                                          632                              631           631    S/L HY       3                       0
  42 COMPUTER SOFTWARE            1/04/13               1,537                                          769                              768           768    S/L HY       3                       0
  43 COMPUTER SOFTWARE            3/24/13                   576                                        288                              288           288    S/L HY       3                       0
  44 COMPUTER SOFTWARE            7/31/13                   675                                        348                              327           327    S/L HY       3                       0
  45 COMPUTER SOFTWARE            9/13/13               5,923                                         2,962                         2,961         2,961      S/L HY       3                       0
  46 COMPUTER SOFTWARE            11/28/13              5,894                                         2,947                         2,947         2,947      S/L HY       3                       0
  47 COMPUTER SOFTWARE            12/20/13              3,944                                         1,972                         1,972         1,844      S/L HY       3                       0
  51 SOFTWARE                     1/28/14               3,269                                         1,635                         1,634         1,634     200DB MQ      3                       0
  52 SOFTWARE                     4/30/14                   765                                        383                              382           382   200DB MQ      3                       0
  53 SOFTWARE                     11/19/14              7,394                                         3,697                         3,697         3,697     200DB MQ      3                       0
  56 SOFTWARE                     11/11/15              7,763                                         3,882                         3,881         2,695     200DB MQ      3                       0
  57 SOFTWARE                     11/14/16              6,823                                         3,412                         3,411         3,411     200DB HY      3                       0
  59 SOFTWARE                     1/02/18               7,164                                         7,164                               0                  S/L HY       3                       0
  61 SOFTWARE                     1/18/19               7,522                                                                       7,522         4,701     S/L MQ        3   .33330         2,507
  62 SOFTWARE                     3/07/19               3,398                                                                       3,398         2,124     S/L MQ        3   .33330         1,133
  63 SOFTWARE                     11/08/19              7,899                                                                       7,899         2,962     S/L MQ        3   .33330         2,633


        TOTAL COMPUTER SOFTWARE                        97,772                0              0        32,890         0       0      64,882        53,721                                      6,273

   COPYRIGHTS OWNED
   ________________

   4 COPYRIGHTS-LSI               1/01/07             559,753                                                                     559,753       559,753         S/L       5                       0
   5 COPYRIGHTS-MLC               1/01/07              61,684                                                                      61,684        61,684         S/L       5                       0
  15 COPYRIGHTS-STILLMAN          2/11/10              50,000                                                                      50,000        50,000         S/L       5                       0
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12/31/21                                          2021 FEDERAL DEPRECIATION SCHEDULE                                                                                              PAGE 3
CLIENT MEMORYLN                                                   MEMORY LANE MUSIC GROUP, LLC                                                                                    XX-XXXXXXX


                                                                                                  PRIOR
                                                                          CUR     SPECIAL          179/          PRIOR   SALVAG
                                      DATE     DATE   COST/       BUS.    179      DEPR.         BONUS/         DEC. BAL /BASIS   DEPR.       PRIOR                                 CURRENT
  NO.            DESCRIPTION        ACQUIRED   SOLD   BASIS       PCT.   BONUS    ALLOW.        SP. DEPR.        DEPR.   REDUCT   BASIS       DEPR.       METHOD    LIFE   RATE      DEPR.

  34 COPYRIGHTS                     1/01/12              11,682                                                                      11,682      10,220       S/L      8                      0
  35 COPYRIGHTS-2012                12/31/17            208,656                                                                     208,656     125,193       S/L      5                41,731
  64 COPYRIGHTS-STILLMAN REMAININ   7/24/08               2,500                                                                       2,500       2,500       S/L      5                      0
  65 COPYRIGHTS-FRANK FOSTER REM    4/07/11               5,000                                                                       5,000       5,000       S/L      5                      0


        TOTAL COPYRIGHTS OWNED                          899,275              0              0               0         0       0     899,275     814,350                                 41,731



        TOTAL DEPRECIATION                            1,025,339              0              0        45,121           0       0     980,218     883,490                                 48,078



        GRAND TOTAL DEPRECIATION                      1,025,339              0              0        45,121           0       0     980,218     883,490                                 48,078
                                     Case 8-22-70838-ast             Doc 2         Filed 04/25/22              Entered 04/25/22 10:51:41



12/31/21                   2021 FEDERAL ALTERNATIVE MINIMUM TAX DEPRECIATION SCHEDULE                                                                                            PAGE 1
CLIENT MEMORYLN                                                  MEMORY LANE MUSIC GROUP, LLC                                                                                    XX-XXXXXXX

                                       DATE     DATE    AMT          AMT PRIOR      AMT        AMT    AMT        AMT          REG.         OWN     POST-86 REAL PROP LEAS PER    59 (E)(2)
  NO.            DESCRIPTION         ACQUIRED   SOLD   BASIS           DEPR.       METHOD      LIFE   RATE       DEPR.        DEPR.        PCT.   DEPR ADJ.  PREF.   PROP PREF   AMORT.

  FORM 1065
  ______________

   COMPUTER EQUIPMENT/SOFTWARE
   ___________________________

   11 COMPUTER                       8/06/08               1,848           1,848    150DB HY      5                       0            0                                                     0
   12 COMPUTERS                      1/20/09               5,190           5,190    150DB HY      5                       0            0                                                     0
   13 SOFTWARE                       3/24/09                   487                  S/L HY        3                       0            0                                                     0
   21 SOFTWARE                       6/06/11                   563           94     S/L HY        3                       0            0                                                     0
   30 COMPUTER EQUIPMENT             6/03/12               1,108           1,108    150DB HY      5                       0            0                                                     0
   31 COMPUTER EQUIPMENT             6/13/12                   505          505     150DB HY      5                       0            0                                                     0
   48 COMPUTER EQUIP                 1/04/13               1,396           1,117    200DB HY      5                       0            0                                                     0
   49 COMPUTER EQUIP                 1/24/13                   180          145     200DB HY      5                       0            0                                                     0
   50 COMPUTER EQUIP                 3/03/13               1,000            800     200DB HY      5                       0            0                                                     0
   55 COMPUTER EQUIP                 6/09/15               2,493           2,493    200DB MQ      5                       0            0                                                     0
   58 COMPUTER EQUIP                 12/28/16              1,291            959     200DB HY      5   .05760             74           74                                                     0
   60 COMPUTER EQUIPMENT             10/09/19                    0                  200DB MQ      5                       0            0                                                     0


        TOTAL COMPUTER EQUIPMENT/S                        16,061          14,259                                         74           74                 0         0         0               0

   COMPUTER SOFTWARE
   _________________

   1 SOFTWARE                        10/26/06              1,185                    S/L HY        3                       0            0                                                     0
   2 SOFTWARE                        11/12/06              1,156                    S/L HY        3                       0            0                                                     0
   3 SOFTWARE                        11/17/06              2,687                    S/L HY        3                       0            0                                                     0
   16 SOFTWARE                       3/25/10                   489          204     S/L HY        3                       0            0                                                     0
   17 SOFTWARE                       11/16/10              3,458           2,209    S/L HY        3                       0            0                                                     0
   22 SOFTWARE                       3/24/11                   516           86     S/L HY        3                       0            0                                                     0
   23 SOFTWARE                       5/18/11               1,786            298     S/L HY        3                       0            0                                                     0
   24 SOFTWARE                       8/10/11               1,633            272     S/L HY        3                       0            0                                                     0
   25 SOFTWARE                       11/10/11              5,332            889     S/L HY        3                       0            0                                                     0
                                    Case 8-22-70838-ast             Doc 2         Filed 04/25/22              Entered 04/25/22 10:51:41



12/31/21                     2021 FEDERAL ALTERNATIVE MINIMUM TAX DEPRECIATION SCHEDULE                                                                                       PAGE 2
CLIENT MEMORYLN                                                 MEMORY LANE MUSIC GROUP, LLC                                                                                  XX-XXXXXXX

                                      DATE     DATE    AMT          AMT PRIOR      AMT        AMT    AMT        AMT         REG.        OWN     POST-86 REAL PROP LEAS PER    59 (E)(2)
  NO.            DESCRIPTION        ACQUIRED   SOLD   BASIS           DEPR.       METHOD      LIFE   RATE       DEPR.       DEPR.       PCT.   DEPR ADJ.  PREF.   PROP PREF   AMORT.

  32 COMPUTER SOFTWARE              3/25/12                   539          270     S/L HY        3                      0           0                                                     0
  33 COMPUTER SOFTWARE              10/31/12              1,584            792     S/L HY        3                      0           0                                                     0
  40 COMPUTER SOFTWARE              1/01/13               2,799           2,333    S/L HY        3                      0           0                                                     0
  41 COMPUTER SOFTWARE              1/04/13                   631          525     S/L HY        3                      0           0                                                     0
  42 COMPUTER SOFTWARE              1/04/13                   768          640     S/L HY        3                      0           0                                                     0
  43 COMPUTER SOFTWARE              3/24/13                   288          240     S/L HY        3                      0           0                                                     0
  44 COMPUTER SOFTWARE              7/31/13                   327          280     S/L HY        3                      0           0                                                     0
  45 COMPUTER SOFTWARE              9/13/13               2,961           2,468    S/L HY        3                      0           0                                                     0
  46 COMPUTER SOFTWARE              11/28/13              2,947           2,455    S/L HY        3                      0           0                                                     0
  47 COMPUTER SOFTWARE              12/20/13              1,972           1,643    S/L HY        3                      0           0                                                     0
  51 SOFTWARE                       1/28/14               1,634           1,634    200DB MQ      3                      0           0                                                     0
  52 SOFTWARE                       4/30/14                   382          382     200DB MQ      3                      0           0                                                     0
  53 SOFTWARE                       11/19/14              3,697           3,697    200DB MQ      3                      0           0                                                     0
  56 SOFTWARE                       11/11/15              3,881           3,881    200DB MQ      3                      0           0                                                     0
  57 SOFTWARE                       11/14/16              3,411           2,274    200DB HY      3                      0           0                                                     0
  59 SOFTWARE                       1/02/18                     0                  S/L HY        3                      0           0                                                     0
  61 SOFTWARE                       1/18/19               7,522           4,701    S/L MQ        3   .33330         2,507       2,507                                                     0
  62 SOFTWARE                       3/07/19               3,398           2,124    S/L MQ        3   .33330         1,133       1,133                                                     0
  63 SOFTWARE                       11/08/19              7,899           2,962    S/L MQ        3   .33330         2,633       2,633                                                     0


        TOTAL COMPUTER SOFTWARE                          64,882          37,259                                     6,273       6,273                 0         0         0               0

   COPYRIGHTS OWNED
   ________________

  64 COPYRIGHTS-STILLMAN REMAININ   7/24/08               2,500           2,500                                         0           0                                                     0
  65 COPYRIGHTS-FRANK FOSTER REM    4/07/11               5,000           4,750                                         0           0                                                     0


        TOTAL COPYRIGHTS OWNED                            7,500           7,250                                         0           0                 0         0         0               0



        TOTAL DEPRECIATION                               88,443          58,768                                     6,347       6,347                 0         0         0               0
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12/31/21                   2021 FEDERAL ALTERNATIVE MINIMUM TAX DEPRECIATION SCHEDULE                                                                                 PAGE 3
CLIENT MEMORYLN                                              MEMORY LANE MUSIC GROUP, LLC                                                                             XX-XXXXXXX

                                     DATE     DATE    AMT        AMT PRIOR      AMT     AMT    AMT      AMT         REG.        OWN     POST-86 REAL PROP LEAS PER    59 (E)(2)
  NO.            DESCRIPTION       ACQUIRED   SOLD   BASIS         DEPR.       METHOD   LIFE   RATE     DEPR.       DEPR.       PCT.   DEPR ADJ.  PREF.   PROP PREF   AMORT.



        GRAND TOTAL DEPRECIATION                        88,443        58,768                                6,347       6,347                 0         0         0               0
